            Case 1:17-bk-12408-MB           Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                             Main Document    Page 1 of 81

                                             Office of the United States Trustee
                         In re: ICPW Liquidation                            Post-Confirmation Status
                         Corporation, a California                                  Report
                         corporation, et al.

                         Chapter 11 Case No: Lead Case                   Quarter Ending:          9/30/2019
                         No.: 1:17-bk-12408-MB
                         Jointly administered with:
                         1:17-bk-12409-MB


 Attorney/Professional - Name, Address, Phone &                      Person responsible for report - Name, Address,
 FAX:                                                                Phone & FAX
 Samuel R. Maizel & Tania M. Moyron                                  Matthew Pliskin
 DENTONS US LLP                                                      3902 Henderson Blvd., Suite 208-336
 601 South Figueroa Street, Suite 2500                               Tampa, FL 33629
 Los Angeles, California 90017-5704                                  Telephone: (917) 543-2568


 Date Order was entered confirming               February 13, 2018
 plan
 Disbursing Agent (if any) (Please               KCC LLC
 print)


 SUMMARY OF DISBURSEMENTS MADE DURING THE QUARTER
 Disbursements made under the plan               $1,137,673.05
 Other Disbursements                             $321,925.03
                        Total Disbursements      $1,459,598.08 1


 Projected date of final decree                  TBD based on resolution of litigation.
 What needs to be achieved before a              Resolution of litigation against BDO and Radians Wareham Holding,
 final decree will be sought? (Attach a          Inc.
 separate sheet if necessary)




1 For purposes of calculating the UST fees, the disbursement total is $9,275.00 after deducting $155,811.04 and $1,121.995.90, which is
                                                                                                                     including accounts
receivable. The amount paid to BBI is comprised of payments received by the Debtor from former customers for which the accoun ts
receivable were sold to BBI.


)
Revised December 2001            POST-CONFIRMATION STATUS REPORT (Page 1 of 1)                                               USTLA-7
112894219
            Case 1:17-bk-12408-MB     Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                       Main Document    Page 2 of 81

 Narrative of events which impact          Since the last reporting period, the Trustee (i) made an interim
 upon the ability to perform under the     distribution under the Plan to beneficial interest holders, and (ii) settled
 reorganization plan or other              an arbitration proceeding against former officers and a former
 significant events that have occurred     employee.
 during the reporting period (Attach a
 separate sheet if necessary)


 Date last U. S. Trustee fee paid          BANK STATEMENTS ATTACHED
 Amount Paid                               $2,275.00

I declare under penalty of perjury that the information contained in the document is true, complete and correct.




 Date: 12/05/2019                                           Signature of person responsible for this report




This report is to be filed with the U.S. Trustee quarterly until a final decree is entered. This report is for U.S.
Trustee purposes only. You may be required to file additional reports with the Bankruptcy Court.




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Revised December 2001        POST-CONFIRMATION STATUS REPORT (Page 2 of 1)                                     USTLA-7
112894219
      Case 1:17-bk-12408-MB                             Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                            Desc
                                                         Main Document    Page 3 of 81
MONTHLY OPERATING REPORT -                                                                                                                 ATTACHMENT NO. 1
POST CONFIRMATION




                                                       QUESTIONNAIRE
                                                                                                                          YES*       NO
1.     Have any assets been sold or transferred outside the normal course of
       business, or outside the Plan of Reorganization during this reporting period?                                             x
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                 x
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days
       delinquent?                                                                                                               x
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                      x


      *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

       The Debtor is current on all post-confirmation plan payments


                                                INSURANCE INFORMATION
                                                                                                                          YES        NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                          x
2.     Are all premium payments current?
                                                                                                         x
      *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

                            No physical operation or location to insure, E&O Coverage is maintiained as stated below.


                                                                CONFIRMATION OF INSURANCE
                                                                                                                          Payment Amount   Delinquency
                    TYPE of POLICY             and            CARRIER                            Period of Coverage        and Frequency     Amount
Professional Liability Full Program - Underwriters at Lloyd's, London                           5/23/19-20                8576.16 Annual       0




                       DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:




     Estimated Date of Filing the Application for Final Decree: ____________________
     Case 1:17-bk-12408-MB                   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                 Desc
                                              Main Document    Page 4 of 81
MONTHLY OPERATING REPORT -                                                                                  ATTACHMENT NO. 2
POST CONFIRMATION

                                                CHAPTER 11 POST-CONFIRMATION
                                        SCHEDULE OF RECEIPTS AND DISBURSEMENTS


Case Name:        ICPW Liquidation Corporation, a California corporation, et al.

Case Number:      Lead Case No. 1:17-bk-12408-MB
Date of Plan
Confirmation:     2/28/2018


                         All items must be answered. Any which do not apply should be answered “none” or “N/A”.



                                                                                   Quarterly              Post Confirmation Total
1.   CASH (Beginning of Period)                                       $                4,474,416.84 $                   15,367,377.27


2.   INCOME or RECEIPTS during the Period                             $                1,952,759.71 $                     2,262,749.18
                  NOTE : $34,217.78 of the PCT receipts were payments from BBI customers to be remitted to BBI
3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)     U.S. Trustee Quarterly Fees                         $                    2,275.00 $                      110,133.44
          (ii)    Federal Taxes                                                                                            100,000.00
          (iii)   State Taxes                                                                                               41,597.38
          (iv)    Other Taxes                                                                                                       0.00


     b.   All Other Operating Expenses:                               $                  319,650.03 $                     2,812,444.87
                 Note: Includes $0 and $1,121,995.90 remitted to
                 BBI
     c.   Plan Payments:
          (i)     Administrative Claims                               $                        0.00 $                     1,282,400.39
          (ii)    Class One*                                                                   0.00                         55,516.47
          (iii)   Class Two                                                                    0.00                                 0.00
          (iv)    Class Three                                                                  0.00                                 0.00
          (v)     Class Four                                                                   0.00                                 0.00
          (vi)    Trust Beneficiaries                                                  1,137,673.05                       8,260,455.43
                  (Attach additional pages as needed)
                  * Note: Re-issuance of payments already
                  scheduled


     Total Disbursements (Operating & Plan)                           $                1,459,598.08 $                   12,662,547.98


1.   CASH (End of Period)                                             $                4,967,578.47 $                     4,967,578.47
      Case 1:17-bk-12408-MB                                              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                                             Desc
                                                                          Main Document    Page 5 of 81
MONTHLY OPERATING REPORT -                                                                                                                                                                                       ATTACHMENT NO. 3
POST CONFIRMATION




                                                                                           CHAPTER 11 POST-CONFIRMATION
                                                                                     BANK ACCOUNT RECONCILIATIONS - JULY 2019
                                                                                    Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account              Account              Account            Account             Account            Account            Account             Account
                                                           #1                   #2                  #3                 #4                  #5                 #6                 #7                  #8
Name of Bank:                                       Signature Bank       Signature Bank       TD Bank            TD Bank             TD Bank            TD Bank            TD Bank             TD Bank

Account Number:                                            0112                0120                 4123                3018                9869              9893                4074                4058

                                                                         Excess Cash                             Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment          Reserve              Disbursement       Reserve             Class 1 Reserve    Tax Reserve        Class 3 Reserve     Class 4 Reserve

Type of Account (e.g. checking)                     Checking             Checking             Checking           Money Market        Money Market       Money Market       Money Market        Money Market



1. Balance per Bank Statement Beginning of period            93,304.24          29,186.01            23,044.71        1,248,663.99         389,389.65          91,720.04        2,344,305.10         254,803.10

Deposits                                                                              27.28         205,131.34           2,899.91              727.57             171.38            4,380.32             476.10

Withdrawals                                                  -5,657.80                             -202,936.34         -205,131.34
1. Balance per Bank Statement                                87,646.44          29,213.29            25,239.71        1,046,432.56         390,117.22          91,891.42        2,348,685.42         255,279.20
2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                 87,646.44          29,213.29            25,239.71        1,046,432.56         390,117.22          91,891.42        2,348,685.42         255,279.20


Note: Attach copy of each bank statement and bank reconciliation.



Investment Account Information
                                                          Current            Current              Current            Current             Current            Current            Current             Current
           Bank / Account Name / Number                    Value              Value                Value              Value               Value              Value              Value               Value
N/A




Note: Attach copy of each investment account statement.
      Case 1:17-bk-12408-MB                                                Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                                            Desc
                                                                            Main Document    Page 6 of 81
MONTHLY OPERATING REPORT -                                                                                                                                                                                        ATTACHMENT NO. 3
POST CONFIRMATION




                                                                                        CHAPTER 11 POST-CONFIRMATION
                                                                                 BANK ACCOUNT RECONCILIATIONS - AUGUST 2019
                                                                                 Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account                Account             Account            Account             Account            Account            Account             Account
                                                           #1                     #2                 #3                 #4                  #5                 #6                 #7                  #8
Name of Bank:                                       Signature Bank         Signature Bank      TD Bank            TD Bank             TD Bank            TD Bank            TD Bank             TD Bank

Account Number:                                            0112                  0120                4123                3018                9869              9893                4074                4058

                                                                           Excess Cash                            Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment            Reserve             Disbursement       Reserve             Class 1 Reserve    Tax Reserve        Class 3 Reserve     Class 4 Reserve

Type of Account (e.g. checking)                     Checking               Checking            Checking           Money Market        Money Market       Money Market       Money Market        Money Market



1. Balance per Bank Statement Beginning of period            87,646.44            29,213.29           25,239.71        1,046,432.56         390,117.22          91,891.42        2,348,685.42         255,279.20

Deposits                                                                        1,920,536.43                               1,770.93             664.80             156.59            4,002.42             435.02

Withdrawals                                                         0.00                              -2,305.00           -8,412.78
1. Balance per Bank Statement                                87,646.44          1,949,749.72          22,934.71        1,039,790.71         390,782.02          92,048.01        2,352,687.84         255,714.22
2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)                 87,646.44          1,949,749.72          22,934.71        1,039,790.71         390,782.02          92,048.01        2,352,687.84         255,714.22


Note: Attach copy of each bank statement and bank reconciliation.



Investment Account Information
                                                          Current              Current             Current            Current             Current            Current            Current             Current
           Bank / Account Name / Number                    Value                Value               Value              Value               Value              Value              Value               Value
N/A




Note: Attach copy of each investment account statement.
      Case 1:17-bk-12408-MB                                              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                                            Desc
                                                                          Main Document    Page 7 of 81
MONTHLY OPERATING REPORT -                                                                                                                                                                                      ATTACHMENT NO. 3
POST CONFIRMATION




                                                                                     CHAPTER 11 POST-CONFIRMATION
                                                                            BANK ACCOUNT RECONCILIATIONS - SEPTEMBER 2019
                                                                              Prepare Reconcilation for each Month of the Quarter

Bank Account Information
                                                        Account              Account             Account            Account             Account            Account            Account             Account
                                                           #1                   #2                 #3                 #4                  #5                 #6                 #7                  #8
Name of Bank:                                       Signature Bank       Signature Bank      TD Bank            TD Bank             TD Bank            TD Bank            TD Bank             TD Bank

Account Number:                                            0112                0120                4123                3018                9869              9893                4074                4058

                                                                         Excess Cash                            Operating
Purpose of Account (Operating/Payroll/Tax)          Disbursment          Reserve             Disbursement       Reserve             Class 1 Reserve    Tax Reserve        Class 3 Reserve     Class 4 Reserve

Type of Account (e.g. checking)                     Checking             Checking            Checking           Money Market        Money Market       Money Market       Money Market        Money Market



1. Balance per Bank Statement Beginning of period            87,646.44        1,949,749.72          22,934.71        1,039,790.71         390,782.02          92,048.01        2,352,687.84         255,714.22

Deposits                                                  1,697,224.99          10,065.55          117,348.45            1,490.97             626.32             147.53            3,770.75             409.84

Withdrawals                                             -1,132,015.25        -1,697,224.99        -108,270.91         -117,348.45
1. Balance per Bank Statement                              652,856.18          262,590.28           32,012.25         923,933.23          391,408.34          92,195.54        2,356,458.59         256,124.06
2. ADD: Deposits not credited

3. SUBTRACT: Outstanding Checks                            -368,608.53

4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)               284,247.65          262,590.28           32,012.25         923,933.23          391,408.34          92,195.54        2,356,458.59         256,124.06


Note: Attach copy of each bank statement and bank reconciliation.



Investment Account Information
                                                          Current            Current             Current            Current             Current            Current            Current             Current
           Bank / Account Name / Number                    Value              Value               Value              Value               Value              Value              Value               Value
N/A




Note: Attach copy of each investment account statement.
  Case 1:17-bk-12408-MB             Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                     Main Document    Page 8 of 81
MONTHLY OPERATING REPORT -                                                                    ATTACHMENT NO. 4
POST CONFIRMATION

                                    CHAPTER 11 POST-CONFIRMATION
                               CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                             Signature Bank
Account Number                                                    0112
Purpose of Account (Operating/Payroll/Personal)          Escrow
Type of Account (e.g., Checking)                         Checking


 Check      Date of
Number    Transaction                     Payee                          Purpose or Description        Amount
                        HUBERT L BROWN III & ANNABELLE
  1369     7/3/2019
                        BROWN FOWLKES                    Trust Distribution                              3,183.27
  1371     7/8/2019     Katherine Defevere               Trust Distribution                              1,888.94
  1372     7/29/2019    Elizabeth Rosner                 Trust Distribution                                293.34
  1373     7/29/2019    Elizabeth Rosner                 Trust Distribution                                292.25
  Wire     9/16/2019    Judy Frank                       Trust Distribution                            107,503.41
  Wire     9/16/2019    ERIC JAEGER                      Trust Distribution                             14,003.67
  Wire     9/16/2019    JAEGER FAMILY LLC                Trust Distribution                             27,578.49
  Wire     9/16/2019    EDUARD ALBERT JAEGER             Trust Distribution                             29,360.05
  Wire     9/16/2019    THE SASSOLA III FAMILY TRUST     Trust Distribution                             40,400.00
  Wire     9/16/2019    UBS Financial                    Trust Distribution                             28,010.41
  Wire     9/16/2019    Marilyn J Chez Trust             Trust Distribution                                505.00
  Wire     9/16/2019    Ronald Chez IRA                  Trust Distribution                            164,223.86
  Wire     9/16/2019    MSSB C/F RONALD L CHEZ           Trust Distribution                              2,258.36
  Wire     9/16/2019    Chez Family Foundation           Trust Distribution                              7,149.89
  Wire     9/16/2019    Athena Marks                     Trust Distribution                             15,352.00
  Wire     9/16/2019    Ann Sofios Trust                 Trust Distribution                              3,151.20
  Wire     9/16/2019    Ilyse Markrack Bene Trust IRA    Trust Distribution                              1,533.18
  Wire     9/16/2019    Eden Macknin Bene Trust IRA      Trust Distribution                              1,414.00
  Wire     9/16/2019    Christopher Marks                Trust Distribution                              1,371.58
  Wire     9/16/2019    Steven Glick Bypass Trust        Trust Distribution                                868.60
  Wire     9/16/2019    Sue Glick Survivors Trust        Trust Distribution                                666.60
  Wire     9/16/2019    Shana Larson                     Trust Distribution                                606.00
  Wire     9/16/2019    Andrea Simon                     Trust Distribution                                606.00
  Wire     9/17/2019    Scott Jarus and Rebecca Jarus    Trust Distribution                            153,393.14
  Wire     9/17/2019    Eric Chez IRA                    Trust Distribution                                101.00
  Wire     9/17/2019    Ilyse Markrack                   Trust Distribution                                167.66
  Wire     9/17/2019    Sue Glick IRA                    Trust Distribution                              1,111.00
  Wire     9/17/2019    MARILYN CHEZ DCSD IRA            Trust Distribution                              5,555.00
  Wire     9/18/2019    Elizabeth Chez Bene Tr IRA       Trust Distribution                              3,131.00
  1412     9/23/2019    CHARLES H GIFFEN                 Trust Distribution                              7,818.96
  1426     9/23/2019    Daniel Corley                    Trust Distribution                              1,010.00
  1524     9/23/2019    MARC S PESTER                    Trust Distribution                              3,244.48
  1526     9/23/2019    Mark Grbic                       Trust Distribution                              2,783.56
  1527     9/23/2019    MARK HAWKING                     Trust Distribution                              3,080.36
  1559     9/23/2019    MURRAY MARKILES                  Trust Distribution                              6,613.68
  1583     9/23/2019    ROBERT B KRONMAN                 Trust Distribution                              1,212.00
  1584     9/23/2019    ROBERT B KRONMAN                 Trust Distribution                                101.00
  1585     9/23/2019    ROBERT BEDROS                    Trust Distribution                                797.58
  1587     9/23/2019    ROBERT C MICHLIN                 Trust Distribution                              1,010.00
                        SHAMSHA VELANI DORAN & KEITH
  1610     9/23/2019
                        DORAN COMM/PROP                  Trust Distribution                              1,010.00
  1611     9/23/2019    SHAMSHA VELANI DORAN CUST FOR    Trust Distribution                              1,010.00
  1624     9/23/2019    TERRY JACKSON                    Trust Distribution                             10,665.60
  1634     9/23/2019    THOMAS R MCELROY                 Trust Distribution                                828.20
  1384     9/24/2019    Alfred Venturini                 Trust Distribution                                303.00
  1393     9/24/2019    BENJAMIN KING                    Trust Distribution                              6,666.00
  1394     9/24/2019    BENJAMIN L PADNOS                Trust Distribution                             34,138.00
  1397     9/24/2019    BIRCH FAMILY TRUST               Trust Distribution                                269.33
  1399     9/24/2019    BRIAN SHEENY                     Trust Distribution                                204.55
  1407     9/24/2019    CAROLE M. ORMISTON               Trust Distribution                                101.00
  1418     9/24/2019    Christopher Barrett              Trust Distribution                              1,065.55
  Case 1:17-bk-12408-MB            Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                     Desc
                                    Main Document    Page 9 of 81
MONTHLY OPERATING REPORT -                                                                    ATTACHMENT NO. 4
POST CONFIRMATION

 Check     Date of
Number   Transaction                 Payee                               Purpose or Description        Amount
  1422    9/24/2019    CRAIG STEPHEN WAGNER              Trust Distribution                               202.00
                       DANIEL SHELLEY WARD FAMILY
 1427     9/24/2019
                       TRUST DTD 12-22-99                Trust Distribution                              1,452.56
 1434     9/24/2019    DAVID WOHL                        Trust Distribution                                202.00
 1437     9/24/2019    DENNIS TORRES & AVERI TORRES      Trust Distribution                              2,175.50
 1438     9/24/2019    DENNIS TORRES & AVERI TORRES      Trust Distribution                              1,864.50
                       HARVEY E GREEN TTEE HM GREEN
 1464     9/24/2019
                       FAMILY TRUST U/A 11/18/99         Trust Distribution                              1,515.00
 1472     9/24/2019    J ROSNER & N ROSNER TTEE          Trust Distribution                            101,000.00
 1473     9/24/2019    JACK JACOB ROSNER                 Trust Distribution                              1,010.00
 1474     9/24/2019    JAMES CHADWICK                    Trust Distribution                                 80.80
 1476     9/24/2019    JAMES F RAFFERTY                  Trust Distribution                                155.38
 1480     9/24/2019    JEFFREY ORR                       Trust Distribution                             10,100.00
                       JOHN M JAMESON AND VICKIE ANN
 1488     9/24/2019
                       JAMESON TIC                       Trust Distribution                              2,020.00
 1499     9/24/2019    KENNETH LAIBLE                    Trust Distribution                                100.98
 1504     9/24/2019    KLEANTHI XENOPOULOS               Trust Distribution                              1,010.00
 1519     9/24/2019    LISA CAROL DUDLEY                 Trust Distribution                                144.75
 1530     9/24/2019    MARTIN H. SZUCS                   Trust Distribution                              1,151.40
                       MLPF& S CUST FPO JOHN ST THOMAS
 1554     9/24/2019
                       IRRA                              Trust Distribution                              1,515.00
 1564     9/24/2019    PATRICK JUETTEN                   Trust Distribution                              1,953.72
 1566     9/24/2019    PATRICK W O'BRIEN                 Trust Distribution                              8,904.58
                       PUMA CAPITAL LLC M/M ACCOUNT -
 1574     9/24/2019
                       KOSSON                            Trust Distribution                                835.55
 1580     9/24/2019    RHONDA HOFFARTH                   Trust Distribution                             16,265.52
 1598     9/24/2019    RONALD S WEAVER MD                Trust Distribution                                101.00
 1599     9/24/2019    RYAN AZLEIN                       Trust Distribution                              1,402.16
 1603     9/24/2019    SCOTT GALER                       Trust Distribution                              2,810.08
 1619     9/24/2019    SUSAN C CULLEN                    Trust Distribution                              2,557.28
 1622     9/24/2019    TARBY BRYANT                      Trust Distribution                                 49.17
 1640     9/24/2019    VALORIE STANSBERRY                Trust Distribution                                511.42
 Wire     9/24/2019    Ronald Chez                       Trust Distribution                                816.08
                       ALBERT W ROSS ROTH IRA COR
 1382     9/25/2019
                       CLEARING CUST                     Trust Distribution                                101.00
 1390     9/25/2019    B.A.T.B. LLC                      Trust Distribution                              3,080.36
 1395     9/25/2019    BILL Meck                         Trust Distribution                              2,222.00
 1413     9/25/2019    CHARLES SCHWAB & CO INC           Trust Distribution                             27,899.41
                       CHRISTIAN M WARREN & BARBARA A
 1417     9/25/2019
                       BOIGEGRAIN JT TEN                 Trust Distribution                                252.50
 1425     9/25/2019    DAN WILLEY SPALT                  Trust Distribution                                 50.50
 1440     9/25/2019    DOUGLAS S ROSE                    Trust Distribution                              3,141.71
 1447     9/25/2019    EMIL IANNACCONE TTEE UA DTD       Trust Distribution                             10,100.00
 1455     9/25/2019    GREG AKSELRUD                     Trust Distribution                              2,634.93
 1457     9/25/2019    GREGORY AKSELRUD                  Trust Distribution                              1,148.13
 1459     9/25/2019    Gregory Ohara                     Trust Distribution                                606.00
                       HORACE DUNBAR HOSKINS JR & ANN
 1467     9/25/2019
                       REID HOSKINS JT TEN               Trust Distribution                              1,540.17
 1469     9/25/2019    HUBERT L BROWN III & ANNABELLE    Trust Distribution                                770.08
 1481     9/25/2019    JEFFREY PADNOS & MARGARET         Trust Distribution                             39,834.02
 1486     9/25/2019    JOHN HOPPE                        Trust Distribution                                 30.30
 1500     9/25/2019    KEVIN DEBRE                       Trust Distribution                              2,573.70
 1501     9/25/2019    KEVIN W MARSH                     Trust Distribution                                 80.80
 1517     9/25/2019    LIANE LUNNY NEUHAUSER             Trust Distribution                                454.50
 1534     9/25/2019    MELISSA DERBY                     Trust Distribution                                339.54
 1539     9/25/2019    MICHAEL CASEY HOCH                Trust Distribution                                269.35
                       MLPF& S CUST FPO AMERICAN TRANS
 1553     9/25/2019
                       SPECIALISTS SEP                   Trust Distribution                              2,323.00
 1557     9/25/2019    MSSB C/F RICARDO L DESOTO         Trust Distribution                                141.40
 1570     9/25/2019    PHILIP WERTHMAN                   Trust Distribution                                404.00
 1589     9/25/2019    ROBERT FORD ERZEN                 Trust Distribution                                 40.40
  Case 1:17-bk-12408-MB                Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                       Main Document     Page 10 of 81
MONTHLY OPERATING REPORT -                                                                              ATTACHMENT NO. 4
POST CONFIRMATION

 Check     Date of
Number   Transaction                Payee                                          Purpose or Description        Amount
  1594    9/25/2019    ROBYN CROWDER                               Trust Distribution                                80.80
  1604    9/25/2019    Scott LaPoff                                Trust Distribution                               101.00

 1612     9/25/2019    Sidney Penchansky & Judith E Penchansky
                       TTEES, Penchansky Family Tr                 Trust Distribution                               202.00
 1618     9/25/2019    STUBBS ALDERTON & MARKILES LLP              Trust Distribution                                63.08
                       WILLIAM C MCCOMB ROTH IRA COR
 1644     9/25/2019
                       CLEARING CUST                               Trust Distribution                                606.00
 1645     9/25/2019    WILLIAM J LITWIN                            Trust Distribution                                121.20
 1647     9/25/2019    WILLIAM MECK                                Trust Distribution                              1,299.99
 1411     9/26/2019    CHARLES E FRISCO JR                         Trust Distribution                                302.98
 1431     9/26/2019    David Jacobs                                Trust Distribution                                101.00
 1432     9/26/2019    DAVID L JACOBS                              Trust Distribution                             13,095.86
 1442     9/26/2019    EDMUND R T FLANIGAN                         Trust Distribution                              2,310.27
                       GLEN K INGALLS & RENEE PACHECO
 1453     9/26/2019
                       TTEES U/A DTD                               Trust Distribution                               708.54
                       JEFFREY F GERSH & ARIE J GERSH
 1479     9/26/2019
                       LIVING TRUST DTD                            Trust Distribution                             10,100.00
 1482     9/26/2019    JOANNA ELLIOTT                              Trust Distribution                                269.33
 1491     9/26/2019    Jonathan C Hamill                           Trust Distribution                                770.08
 1506     9/26/2019    KNUTE LEE                                   Trust Distribution                                522.92
 1521     9/26/2019    LOUIS WHARTON                               Trust Distribution                                304.03
 1529     9/26/2019    MARK W FISCHER                              Trust Distribution                                 38.48
 1533     9/26/2019    MCDERMOTT & BULL                            Trust Distribution                              1,525.20
 1544     9/26/2019    Michael Sherman                             Trust Distribution                              1,212.00
 1546     9/26/2019    Miles Green                                 Trust Distribution                              1,414.00
 1616     9/26/2019    STEVE FEDEA                                 Trust Distribution                                102.23
 1625     9/26/2019    TERRY JACKSON TTEE                          Trust Distribution                             10,100.00
 1450     9/27/2019    Ethan Penner                                Trust Distribution                              3,030.00
 1452     9/27/2019    GEORGE K CROCKETT VIRGINIA C                Trust Distribution                                202.00
 1458     9/27/2019    GREGORY CURHAN TTEE; RANDI                  Trust Distribution                              1,328.72
 1468     9/27/2019    HORIZON INVESTMENT L.P.                     Trust Distribution                             12,164.70
 1475     9/27/2019    JAMES E COLLINS                             Trust Distribution                                202.00
 1522     9/27/2019    M DIGREGORIO & A DIGREGORIO TT              Trust Distribution                              2,424.00
 1536     9/27/2019    MICHAEL A DIGREGORIO                        Trust Distribution                              8,079.98
 1537     9/27/2019    MICHAEL ANTHONY DIGREGORIO                  Trust Distribution                              7,035.86
 1556     9/27/2019    MSSB C/F FRED CATALANO                      Trust Distribution                                606.00
 1571     9/27/2019    PHILLIP NUTTER & LYNNE M NUTTER             Trust Distribution                                 40.40
 1602     9/27/2019    SCOTT ALDERTON                              Trust Distribution                             11,880.25
 1609     9/27/2019    SEVEN SEVEN SEVEN EQ PTNRS                  Trust Distribution                             16,398.80
 1635     9/27/2019    THOMAS W. MASON                             Trust Distribution                              1,346.65
                       THOMAS W. MASON & LISA L. MASON
 1636     9/27/2019
                       JT TEN                                      Trust Distribution                              1,595.17
 1641     9/27/2019    VANE CLAYTON                                Trust Distribution                             16,138.79
 1378     9/30/2019    AAION PARTNERS INC                          Trust Distribution                                505.00
 1379     9/30/2019    AAION PARTNERS INC                          Trust Distribution                              6,060.00
 1402     9/30/2019    C NEUHAUSER CUST FOR C                      Trust Distribution                                214.12
 1404     9/30/2019    CANACCORD GENUITY INC                       Trust Distribution                              1,282.48
 1416     9/30/2019    CHRIS JUETTEN                               Trust Distribution                                511.42
 1428     9/30/2019    DANIEL THOMAS GIEBER                        Trust Distribution                                339.54
                       DMITRI PECHERSKI & LIUDMILA
 1439     9/30/2019
                       PECHERSKI JT TEN                            Trust Distribution                                40.40
                       ERIC CARL HANSEN & TRACY LYNN
 1448     9/30/2019
                       HANSEN JT TEN                               Trust Distribution                                 40.40
 1461     9/30/2019    Hamill 1934 ITW Trust c/o Briair Hall LLC   Trust Distribution                              3,850.44
 1465     9/30/2019    HEIDI JAEGER                                Trust Distribution                                620.34
 1466     9/30/2019    HEIDI JAEGER TTEE                           Trust Distribution                              2,324.54
 1483     9/30/2019    JOE WORDEN                                  Trust Distribution                                 66.50
                       KIM WOODWORTH & BILL
 1502     9/30/2019
                       WOODWORTH                                   Trust Distribution                               262.60
 1507     9/30/2019    KONRAD GATIEN                               Trust Distribution                                38.06
   Case 1:17-bk-12408-MB                      Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                              Main Document     Page 11 of 81
MONTHLY OPERATING REPORT -                                                                          ATTACHMENT NO. 4
POST CONFIRMATION

  Check        Date of
 Number      Transaction                       Payee                           Purpose or Description            Amount
                            LINNEA E JOHNSON ROTH IRA COR
  1518        9/30/2019
                            CLEARING CUST                       Trust Distribution                                   606.00
  1555        9/30/2019     MSSB C/F AUDREY G BEYER             Trust Distribution                                   121.20
  1558        9/30/2019     MSSB C/F ZACHARY J LEVY             Trust Distribution                                   262.60
  1568        9/30/2019     Paul Lee                            Trust Distribution                                   404.00
  1597        9/30/2019     RONALD J SCHUETTE TTEE              Trust Distribution                                 1,063.53
  1600        9/30/2019     SANFORD ROBERT PRICE                Trust Distribution                                   606.00
  1615        9/30/2019     Stanly M Junior 1998 Trust          Trust Distribution                                 1,540.17
  1620        9/30/2019     Tad Benson                          Trust Distribution                                 1,270.58
                            THE ELLEN IDELSON TRUST DATED
  1626        9/30/2019
                            MARCH 20 2003                       Trust Distribution                                  181.11
                            THE WILLIAM J. & SEEMAH W.
  1630        9/30/2019
                            IDELSON FAMILY TRUST                Trust Distribution                                   905.44
  1643        9/30/2019     Wells Fargo Clearing Services LLC   Trust Distribution                                23,636.12
  1646        9/30/2019     WILLIAM L BOETTCHER                 Trust Distribution                                 1,540.17


                                                                                                        TOTAL 1,137,673.05


Holding check and anticipated delivery date of check.
  Case 1:17-bk-12408-MB            Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                     Desc
                                   Main Document     Page 12 of 81
MONTHLY OPERATING REPORT -                                                                    ATTACHMENT NO. 4
POST CONFIRMATION

                                     CHAPTER 11 POST-CONFIRMATION
                         Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                             Signature Bank
Account Number                                                    0112
Purpose of Account (Operating/Payroll/Personal)          Escrow
Type of Account (e.g., Checking)                         Checking


 Check      Date of
Number    Transaction                      Payee                         Purpose or Description        Amount
  1067      6/7/2018    BRUCE G KLASS                    Trust Distribution                             9,549.90
  1077      6/7/2018    Goldman Sachs                    Trust Distribution                             8,350.00
  1085      6/7/2018    SEGAL FAMILY TRUST               Trust Distribution                             6,593.91
  1087      6/7/2018    STANLEY M RUMBOUGH JR            Trust Distribution                             6,366.54
  1119      6/7/2018    ARTHUR GERRICK                   Trust Distribution                             4,175.00
  1125      6/7/2018    JAMES SEIBEL                     Trust Distribution                             3,618.39
                        ROBERT H KEELEY & SANDRA D
  1131     6/7/2018
                        KEELEY JT TEN                    Trust Distribution                              3,183.27
  1156     6/7/2018     Cantor Fitzgerald & Co.          Trust Distribution                              1,633.43
  1157     6/7/2018     ROBERT C CLARK                   Trust Distribution                              1,591.68
  1167     6/7/2018     SSBT TTEE                        Trust Distribution                              1,068.80
  1185     6/7/2018     LOIS B MAY TTEE                  Trust Distribution                                751.50
  1205     6/7/2018     OWEN BENNETT MULLER              Trust Distribution                                417.50
  1209     6/7/2018     JOSHUA CRINKLAW                  Trust Distribution                                417.50
  1214     6/7/2018     JOSHUA LOUIS CAIN                Trust Distribution                                417.50
  1233     6/7/2018     KIMIKO ANN SNYDER                Trust Distribution                                208.75
  1240     6/7/2018     MILES POTEAT EGGART              Trust Distribution                                167.00
  1250     6/7/2018     REYHEENA EIDARIUS                Trust Distribution                                125.25
  1252     6/7/2018     MIKE SALOMON                     Trust Distribution                                109.64
  1261     6/7/2018     AUSTIN RUIZ WATKINS              Trust Distribution                                  83.5
  1362     2/5/2019     Alex Jin                         Trust Distribution                                   835
  1370     6/27/2019    Stanly M Junior 1998 Trust       Trust Distribution                              6366.54
  1374     9/16/2019    Stephen Goodhue                  Trust Distribution                                269.33
  1375     9/16/2019    Alex Jin                         Trust Distribution                                   202
  1376     9/16/2019    Guy Shamir                       Trust Distribution                                856.48
  1377     9/16/2019    Writser Pier Cleveringa          Trust Distribution                                4403.6
  1380     9/16/2019    ADRIANNA MEYER                   Trust Distribution                                  50.5
  1381     9/16/2019    ALAN HSU                         Trust Distribution                                 161.6
  1383     9/16/2019    ALEX ROTONEN                     Trust Distribution                                   101
                        ALL IN THE BEHL FAMILY LP A
  1385     9/16/2019
                        PARTNERSHIP                      Trust Distribution                              3850.44
  1386     9/16/2019    ANDREW J CRYER                   Trust Distribution                                 80.8
                        ANNALOUISE JAEGER & KEITH
  1387     9/16/2019
                        VERWOEST                         Trust Distribution                               642.22
  1388     9/16/2019    ANTHONY KEATS                    Trust Distribution                                52.32
  1389     9/16/2019    ARTHUR GERRICK                   Trust Distribution                                1010
  1391     9/16/2019    BARBARA ASHTON                   Trust Distribution                                 40.4
                        BARBARA JOAN DEGEORGE & M
  1392     9/16/2019
                        DEGEORGE KELLY JT TEN            Trust Distribution                                161.60
  1396     9/16/2019    BILL MECK & TERESA MECK JT TEN   Trust Distribution                             10,614.41
                        BRENT ALLEN FLETCHER TTEE;
  1398     9/16/2019
                        BRENT ALLEN FLETCHER REV TRUST   Trust Distribution                              3,204.39
  1400     9/16/2019    BRUCE G KLASS                    Trust Distribution                              2,310.27
                        BUD W BRUTSMAN PLEDGED TO ML
  1401     9/16/2019
                        LENDER                           Trust Distribution                                50.50
                        CALVIN CHENG CHIEN & KAREN KUO
  1403     9/16/2019
                        CHIEN                            Trust Distribution                                84.84
  1405     9/16/2019    Cantor Fitzgerald & Co.          Trust Distribution                               395.15
                        CARL C HSU TTEE DR CARL C HSU
  1406     9/16/2019
                        REV LIV TRUST U/A 7/3/96         Trust Distribution                               444.40
  1408     9/16/2019    CARRIE LELO                      Trust Distribution                                60.60
  Case 1:17-bk-12408-MB               Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                          Desc
                                      Main Document     Page 13 of 81
MONTHLY OPERATING REPORT -                                                                            ATTACHMENT NO. 4
POST CONFIRMATION

 Check     Date of
Number   Transaction                       Payee                                 Purpose or Description        Amount
                       CASEY E FOLKS JR. (DECD) BRYAN
 1409     9/16/2019
                       FOLKS (BENE)                               Trust Distribution                               90.90
                       CASEY E FOLKS JR. (DECD) DARYL
 1410     9/16/2019
                       FOLKS (BENE)                               Trust Distribution                               90.90
 1414     9/16/2019    CHARLES SCHWAB BANK TTEE                   Trust Distribution                            1,717.00
 1415     9/16/2019    CHERYL WASHINGTON                          Trust Distribution                                40.4
 1419     9/16/2019    CHRISTOPHER M HAZLITT                      Trust Distribution                              115.46
 1420     9/16/2019    CLAYTON WYOMING LLC                        Trust Distribution                            10743.47
 1421     9/16/2019    Clear Vista Select Opportunities Fund LP   Trust Distribution                             4852.81
 1423     9/16/2019    Craig White                                Trust Distribution                                30.3
 1424     9/16/2019    DAN R CHIER                                Trust Distribution                               28.28
 1429     9/16/2019    DAVID G HILL                               Trust Distribution                              153.96
 1430     9/16/2019    DAVID J COOK                               Trust Distribution                              231.09
 1433     9/16/2019    DAVID WESSEL                               Trust Distribution                             4201.24
 1435     9/16/2019    Debra H Taylor                             Trust Distribution                                 202
                       DELTEC SPECIAL SITUATIONS
 1436     9/16/2019
                       PARTNERS LP                                Trust Distribution                             2677.91
 1441     9/16/2019    ED WETHERBEE                               Trust Distribution                              117.08
                       EDWIN BALDRIDGE TTEE UA DTD
 1443     9/16/2019
                       10/30/1992                                 Trust Distribution                             2310.27
 1444     9/16/2019    ELI ARRIV                                  Trust Distribution                              726.27
 1445     9/16/2019    ELIZABETH ROSNER                           Trust Distribution                               70.96
 1446     9/16/2019    ELIZABETH ROSNER                           Trust Distribution                                70.7
 1449     9/16/2019    Estate of DONALD P ELLIOTT                 Trust Distribution                             1595.17
 1451     9/16/2019    Etrade Securities                          Trust Distribution                            16507.04
 1454     9/16/2019    Goldman Sachs                              Trust Distribution                            2,020.00
 1456     9/16/2019    GREG TOBIAS                                Trust Distribution                              202.00
                       GUARDIAN VENTURES INC C/O QUEST
 1460     9/16/2019
                       INTERNATIONAL MANAGEMENT CO                Trust Distribution                              186.83
 1462     9/16/2019    HAROLD F SCHAFF                            Trust Distribution                              269.33
                       HAROLD F SCHAFF & CHERYL A
 1463     9/16/2019
                       SCHAFF TTEES                               Trust Distribution                             1595.17
 1470     9/16/2019    HUI-YA HSU                                 Trust Distribution                                 202
 1471     9/16/2019    Interactive Brokers                        Trust Distribution                             2050.34
 1477     9/16/2019    JAMES R YOUNG                              Trust Distribution                              153.96
 1478     9/16/2019    JAMES SEIBEL                               Trust Distribution                              875.35
 1484     9/16/2019    JOHN D & MARGARET A ROGERS                 Trust Distribution                              201.98
                       JOHN E ORCUTT & MARCIA ORCUTT
 1485     9/16/2019
                       JT TEN                                     Trust Distribution                              606.00
 1487     9/16/2019    JOHN JAMES DARNELL                         Trust Distribution                               31.41
 1489     9/16/2019    JOHN MCILVERY                              Trust Distribution                            4,254.42
 1490     9/16/2019    Johnson Family Trust                       Trust Distribution                              404.00
 1492     9/16/2019    JONATHAN HODES                             Trust Distribution                            3,787.68
 1493     9/16/2019    JOSEPH D RYAN                              Trust Distribution                            3,838.00
 1494     9/16/2019    Joshua Benson                              Trust Distribution                            6,718.52
 1495     9/16/2019    JOSHUA CRINKLAW                            Trust Distribution                              101.00
 1496     9/16/2019    JOSHUA LOUIS CAIN                          Trust Distribution                              101.00
 1497     9/16/2019    Katherine Defevere                         Trust Distribution                              456.96
 1498     9/16/2019    Keala Wheeler                              Trust Distribution                               63.77
 1503     9/16/2019    KIMIKO ANN SNYDER                          Trust Distribution                                50.5
                       KLEIN PARTNERS, LTD. ,LP C/O KEVIN
 1505     9/16/2019
                       R. KLEIN, GARY C. KLEIN & ANNE M.          Trust Distribution                             1540.17
                       KRONMAN MATTHEW & ASSOC; TTE
 1508     9/16/2019
                       RICHARD KRONMAN                            Trust Distribution                                5555
 1509     9/16/2019    Kronman Matthew & Associates               Trust Distribution                             9839.02
 1510     9/16/2019    Kronman Matthew & Associates               Trust Distribution                             3279.67
 1511     9/16/2019    Kronman Matthew & Associates               Trust Distribution                             5376.67
 1512     9/16/2019    Kronman Matthew & Associates               Trust Distribution                             4532.64
                       KRONMAN, MATTHEW & ASSOCIATES
 1513     9/16/2019
                       RETIREMENT TRUST                           Trust Distribution                             3683.17
 1514     9/16/2019    KYLE EDLUND                                Trust Distribution                              605.07
  Case 1:17-bk-12408-MB               Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                      Main Document     Page 14 of 81
MONTHLY OPERATING REPORT -                                                                             ATTACHMENT NO. 4
POST CONFIRMATION

 Check     Date of
Number   Transaction                      Payee                                   Purpose or Description        Amount
  1515    9/16/2019    LAURA B PANNIER                            Trust Distribution                                 40.4
  1516    9/16/2019    LESLIE C SCHUETTE                          Trust Distribution                               2080.6
  1520    9/16/2019    LOIS B MAY TTEE                            Trust Distribution                                181.8
  1523    9/16/2019    MARA ROSNER KEDEM CUST FOR                 Trust Distribution                                1010
                       MARK D STOKES JR & DIANE P
 1525     9/16/2019
                       STOKES COMM/PROP                           Trust Distribution                                 37.37
 1528     9/16/2019    Mark R Gosman & Donna Gosman JTTEN         Trust Distribution                                1070.6
 1531     9/16/2019    MATTHEW JUETTEN                            Trust Distribution                                511.42
 1532     9/16/2019    MATTHEW LAUBERT                            Trust Distribution                                471.89
 1535     9/16/2019    Merrill Lynch Pierce Fenner & Smith Inc.   Trust Distribution                                505.00
 1538     9/16/2019    MICHAEL B JOHNSON                          Trust Distribution                              1,999.17
 1540     9/16/2019    MICHAEL GRANT                              Trust Distribution                                980.49
 1541     9/16/2019    MICHAEL GROSSMAN                           Trust Distribution                              3,361.66
                       MICHAEL R CICERO & WILLIAM M
 1542     9/16/2019
                       VEAZEY                                     Trust Distribution                               110.60
                       MICHAEL RAY COOPER & ELIZABETH
 1543     9/16/2019
                       KING COOPER JT TEN                         Trust Distribution                                121.20
 1545     9/16/2019    MIKE SALOMON                               Trust Distribution                                 26.52
 1547     9/16/2019    MILES POTEAT EGGART                        Trust Distribution                                 40.40
 1548     9/16/2019    Millennium Trust Company                   Trust Distribution                              4,646.00
 1549     9/16/2019    MILWAUKEE DEF COMP BOARD TTEE              Trust Distribution                                242.40
 1550     9/16/2019    MILWAUKEE DEF COMP BOARD TTEE              Trust Distribution                                308.07
 1551     9/16/2019    MILWAUKEE DEF COMP BOARD TTEE              Trust Distribution                              4936.48
 1552     9/16/2019    MILWAUKEE DEF COMP BOARD TTEE              Trust Distribution                                   202
 1560     9/16/2019    NATHAN ALLEN                               Trust Distribution                                   101
 1561     9/16/2019    OWEN BENNETT MULLER                        Trust Distribution                                   101
 1562     9/16/2019    Pat Collins                                Trust Distribution                                 4040
 1563     9/16/2019    Patricia Duke                              Trust Distribution                                  40.4
 1565     9/16/2019    PATRICK LIN                                Trust Distribution                                 1010
 1567     9/16/2019    PAUL C KENDALL                             Trust Distribution                                 121.2
 1569     9/16/2019    PETER SEAMANS                              Trust Distribution                                649.96
                       PHTC Inc PFT SHG PLN UAD 12/30/94
 1572     9/16/2019
                       John Cole TTEE                             Trust Distribution                                 202
 1573     9/16/2019    PRESTON SOECHTING                          Trust Distribution                                 101
 1575     9/16/2019    R D PETE BLOOMER                           Trust Distribution                             15378.08
                       RAYMOND JAMES & ASSOCIATES INC.
 1576     9/16/2019
                       CUST FBO MAKARIOS PALIOS IRA               Trust Distribution                                  505
                       RAYMOND JAMES & ASSOCIATES INC.
 1577     9/16/2019
                       CUST FBO MAKARIOS PALIOS ROTH              Trust Distribution                                  505
                       Restated Agreement of the Vane Clayton
 1578     9/16/2019
                       Revocable Trust DTD 2/23/06 Vane &         Trust Distribution                              2052.32
 1579     9/16/2019    REYHEENA EIDARIUS                          Trust Distribution                                 30.3
                       RICHARD KRONMAN & IAN MATTHEW
 1581     9/16/2019
                       TRUSTEES FBO                               Trust Distribution                                10100
                       KRONMAN REVOCABLE TRST DTD
 1582     9/16/2019
                       2/28/02                                    Trust Distribution                                20200
 1586     9/16/2019    ROBERT C CLARK                             Trust Distribution                                385.05
 1588     9/16/2019    ROBERT F CHARLES JR                        Trust Distribution                              1,540.17
 1590     9/16/2019    Robert Forster                             Trust Distribution                                606.00
                       ROBERT H KEELEY & SANDRA D
 1591     9/16/2019
                       KEELEY JT TEN                              Trust Distribution                                770.08
 1592     9/16/2019    ROBERT J KERR                              Trust Distribution                                161.60
 1593     9/16/2019    ROBERT MEOTTLE                             Trust Distribution                              2,201.34
 1595     9/16/2019    RONALD D BLOOMER                           Trust Distribution                              2,254.14
 1596     9/16/2019    RONALD J SCHUETTE                          Trust Distribution                              2,323.00
 1601     9/16/2019    Schacter Revoc Trust 2/5/98                Trust Distribution                                505.00
                       SCOTT WAYNE IRELAND & KRISTINA
 1605     9/16/2019
                       MARIE IRELAND JT TEN                       Trust Distribution                              1,351.16
 1606     9/16/2019    SEAMARK FUND LP                            Trust Distribution                              2,713.53
 1607     9/16/2019    SEAN S MATSUBAYASHI                        Trust Distribution                                 74.74
 1608     9/16/2019    SEGAL FAMILY TRUST                         Trust Distribution                              1595.17
   Case 1:17-bk-12408-MB                       Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                          Desc
                                               Main Document     Page 15 of 81
MONTHLY OPERATING REPORT -                                                                                           ATTACHMENT NO. 4
POST CONFIRMATION

  Check        Date of
 Number      Transaction                     Payee                                          Purpose or Description                      Amount
   1613       9/16/2019      SPM CENTER LLC                                 Trust Distribution                                            2664.56
   1614       9/16/2019      SSBT TTEE                                      Trust Distribution                                             258.56
   1617       9/16/2019      Steven Skalecki                                Trust Distribution                                             9716.2
   1621       9/16/2019      TAMALPAIS PARTNERS                             Trust Distribution                                            1223.09
   1627       9/16/2019      THE ORCUTT FAMILY TRUST                        Trust Distribution                                             40400
   1628       9/16/2019      The Vanguard Group                             Trust Distribution                                            7256.83
   1629       9/16/2019      THE VERTICAL TRADING GROUP LLC                 Trust Distribution                                               1111
   1631       9/16/2019      THOMAS ELLIOTT                                 Trust Distribution                                            2395.13
   1632       9/16/2019      THOMAS J CHOKEL                                Trust Distribution                                            1377.26
   1633       9/16/2019      THOMAS KENDALL                                 Trust Distribution                                                382
   1637       9/16/2019      TODD GITLIN                                    Trust Distribution                                            1016.79
                             TODD M TOWNSEND ROTH IRA COR
  1638         9/16/2019
                             CLEARING CUST                                  Trust Distribution                                                606
  1639         9/16/2019     V JOSEPH STUBBS                                Trust Distribution                                             7593.4
  1642         9/16/2019     VUONG TRAN                                     Trust Distribution                                                808
                             WILLIAM MECK & TERESA MECK JT
  1648         9/16/2019
                             TEN                                            Trust Distribution                                                404
  1649         9/16/2019     XIN GUO                                        Trust Distribution                                            1018.85
  1650         9/16/2019     Ying Ting Yang                                 Trust Distribution                                             632.26
  1651         9/16/2019     ZVI M RHINE                                    Trust Distribution                                               1010


                                                                                                                            TOTAL       368,608.53

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
        Case 1:17-bk-12408-MB                Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                             Main Document     Page 16 of 81
     MONTHLY OPERATING REPORT -                                                                     ATTACHMENT NO. 4
     POST CONFIRMATION

                                            CHAPTER 11 POST-CONFIRMATION
                                       CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

     Name of Bank                                               TD Bank
     Account Number                                                    4123
     Purpose of Account (Operating/Payroll/Personal)            Operating
     Type of Account (e.g., Checking)                           Checking


       Check     Date of
      Number   Transaction                      Payee                          Purpose or Description           Amount
        EFT      7/1/2019    TD Bank                            Wire Fee                                             25.00
        EFT      7/1/2019    TD Bank                            Wire Fee                                             25.00
        EFT      7/1/2019    pat                                Trust Administration                             10,000.00
        EFT      7/1/2019    Ron Chez                           Trust Administration                             10,000.00
      DEBIT      7/1/2019    Matthew Pliskin                    Trust Administration                             12,798.78
      995056     7/8/2019    BPEH                               Tax Accounting                                      725.00
      995064     7/9/2019    Solomon & Cramer                   Legal Fees                                        6,892.50
      995060    7/10/2019    Kurtzmang Carson Cosnultants       Trust Administration                                500.00
      995058    7/10/2019    FTI Consulting                     Litigation Support                                8,235.22
      995061    7/10/2019    Scott Jarus                        Trust Administration                             10,000.00
      995059    7/10/2019    Hemming Morse LLP                  Litigation Support                               21,787.50
      995062    7/10/2019    Solomon & Cramer                   Legal Fees                                       70,005.20
      995057    7/11/2019    Dentons LLP                        Legal Fees                                       50,172.02
      995063    7/15/2019    Foley Lardner                      Litigation Support                                1,740.12
 MAINTENANCE FEE7/31/2019    TD Bank                            Bank Fee                                             30.00
      995066     8/8/2019    US Trustee                         Quarterly Fee                                       325.00
      995065     8/8/2019    US Trustee                         Quarterly Fee                                     1,950.00
 MAINTENANCE FEE8/30/2019    TD Bank                            Bank Fee                                             30.00
WIRE TRANSFER FEE9/4/2019    TD Bank                            Wire Fee                                             25.00
    OING Kurtzm 9/4/2019     Kurtzman Carson Consultants        Trust Administration                              2,711.50
      995068    9/17/2019    Business Records Management        Document Storage / Conference room                1,967.82
      995071    9/17/2019    Solomon & Cramer                   Legal Fees                                       16,442.32
      995067    9/18/2019    American Arbitration Association   Arbitration Fees                                 13,750.00
      995070    9/18/2019    Hemming Morse LLP                  Litigation Support                               64,940.00
      995069    9/20/2019    Dentons LLP                        Legal Fees                                        8,404.27
 MAINTENANCE FEE9/30/2019    TD Bank                            Bank Fee                                             30.00


                                                                                                        TOTAL   313,512.25
   Case 1:17-bk-12408-MB                       Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                          Desc
                                               Main Document     Page 17 of 81
MONTHLY OPERATING REPORT -                                                                                           ATTACHMENT NO. 4
POST CONFIRMATION

                                           CHAPTER 11 POST-CONFIRMATION
                               Outstanding CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                TD Bank
Account Number                                                                      4123
Purpose of Account (Operating/Payroll/Personal)                             Operating
Type of Account (e.g., Checking)                                            Checking


  Check        Date of
 Number      Transaction                         Payee                                     Purpose or Description                       Amount




                                                                                                                            TOTAL           0.00

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
  Case 1:17-bk-12408-MB                Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19               Desc
                                       Main Document     Page 18 of 81
MONTHLY OPERATING REPORT -                                                               ATTACHMENT NO. 4
POST CONFIRMATION

                                      CHAPTER 11 POST-CONFIRMATION
                                 CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                          TD Bank
Account Number                                               3018
Purpose of Account (Operating/Payroll/Personal)       Operating
Type of Account (e.g., Checking)                      Money Market


 Check      Date of
Number    Transaction                   Payee                       Purpose or Description           Amount
  EFT       8/5/2019    The Charles Schwab Trst Co    401k Reconciliation                             8,387.78
  EFT       8/5/2019    TD Bank                       Wire Fee                                           25.00




                                                                                             TOTAL     8,412.78
           Case 1:17-bk-12408-MB                         Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                             Desc
                                                         Main Document     Page 19 of 81
                                                         CHAPTER 11 POST-CONFIRMATION
                                                              INTEREST RECEIVED


                  Account              Account             Account            Account         Account         Account         Account         Account
                    #1                   #2                  #3                 #4              #5              #6              #7              #8
Name of
               Signature Bank      Signature Bank       TD Bank             TD Bank         TD Bank         TD Bank         TD Bank         TD Bank
Bank:
Account
                     0112                0120                 4123                3018            9869            9893            4074            4058
Number:
Purpose of
Account                            Excess Cash                              Operating       Class 1                         Class 3         Class 4
               Disbursment                              Disbursement                                        Tax Reserve
(Operating/Pa                      Reserve                                  Reserve         Reserve                         Reserve         Reserve
yroll/Tax)
Type of
Account (e.g. Checking             Checking             Checking            Money Market Money Market Money Market Money Market Money Market
checking)
    Month
    10/31/2018                                  26.93
    11/30/2018                                  26.19                             2774.02          610.05           143.7        3672.77          399.19
    12/31/2018                                  27.11                             2844.07          653.16          153.85          3932.3          427.4
                           0.00                 80.23                0.00        5,618.09        1,263.21          297.55        7,605.07         826.59     15,690.74

    1/31/2019                                   27.13                            2965.37           715.47          168.53        4307.47           468.18
    2/28/2019                                   24.53                            2575.69           651.25           153.4        3920.84           426.16
    3/31/2019                                   27.18                              2754.3          722.25          170.12        4348.26           472.61
                            0.00                78.84                0.00        8,295.36        2,088.97          492.05       12,576.57        1,366.95    24,898.74

    4/30/2019                                   26.33                            2538.51           700.25          164.94        4215.85           458.22
    5/31/2019                                   27.23                            2490.69           724.90          170.75        4364.26           474.35
    6/30/2019                                   26.38                            2253.78           702.83          165.55        4231.37           459.91
                            0.00                79.94                0.00        7,282.98        2,127.98          501.24       12,811.48        1,392.48    24,196.10

    7/31/2019                                 27.28                              1954.78           727.57          171.38        4380.32            476.1
    8/31/2019                              1,589.36                              1770.93           664.80          156.59        4002.42           435.02
    9/30/2019                                850.14                              1490.97           626.32          147.53        3770.75           409.84
                            0.00           2,466.78                  0.00        5,216.68        2,018.69          475.50       12,153.49        1,320.96    23,652.10
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 20 of 81



                                                                                Statement Period
                                                                             From July      01, 2019
                                                                             To   July      31, 2019
                                                                             Page      1 of    2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0112          4

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      BANKRUPTCY CHECKING                                  93,304.24                      87,646.44

              RELATIONSHIP             TOTAL                                                        87,646.44
     Case 1:17-bk-12408-MB          Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                    Main Document     Page 21 of 81



                                                                                    Statement Period
                                                                                 From July      01, 2019
                                                                                 To   July      31, 2019
                                                                                 Page      2 of    2

                                                                                 PRIVATE CLIENT GROUP 161
                                                                                 565 FIFTH AVENUE
                                                                                 NEW YORK, NY 10017



             ICPW NEVADA TRUST                          9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                            See Back for Important Information


                                                                        Primary Account:       0112          4


BANKRUPTCY CHECKING                    0112




Summary

 Previous Balance as of July        01, 2019                                                          93,304.24
        4 Debits                                                                                       5,657.80
 Ending Balance as of   July        31, 2019                                                          87,646.44


Checks by Serial Number
 Jul 03       1369                3,183.27     Jul 29            1372              293.34
 Jul 08       1371 *              1,888.94     Jul 29            1373              292.25

                 * Indicates break in check sequence

Daily Balances
 Jun 30               93,304.24                         Jul 08             88,232.03
 Jul 03               90,120.97                         Jul 29             87,646.44
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 22 of 81



                                                                                Statement Period
                                                                             From August    01, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0112          0

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Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      BANKRUPTCY CHECKING                                  87,646.44                      87,646.44

              RELATIONSHIP             TOTAL                                                        87,646.44
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19      Desc
                                  Main Document     Page 23 of 81



                                                                          Statement Period
                                                                       From August    01, 2019
                                                                       To   August    31, 2019
                                                                       Page     2 of     2

                                                                       PRIVATE CLIENT GROUP 161
                                                                       565 FIFTH AVENUE
                                                                       NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                  See Back for Important Information


                                                              Primary Account:       0112          0


BANKRUPTCY CHECKING                  0112




Summary

 Previous Balance as of August    01, 2019                                                  87,646.44

 There was no deposit activity during this statement period

 Ending Balance as of   August    31, 2019                                                  87,646.44
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 24 of 81



                                                                                Statement Period
                                                                             From September 01, 2019
                                                                             To   September 30, 2019
                                                                             Page     1 of     8

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0112         136

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
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              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0112      BANKRUPTCY CHECKING                                  87,646.44                      652,856.18

              RELATIONSHIP             TOTAL                                                        652,856.18
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                  Main Document     Page 25 of 81



                                                                                        Statement Period
                                                                                     From September 01, 2019
                                                                                     To   September 30, 2019
                                                                                     Page     2 of     8

                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017



             ICPW NEVADA TRUST                          9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                                See Back for Important Information


                                                                            Primary Account:       0112          136


BANKRUPTCY CHECKING                  0112




Summary

 Previous Balance as of September 01, 2019                                                               87,646.44
        2 Credits                                                                                     1,700,355.99
      163 Debits                                                                                      1,135,146.25
 Ending Balance as of   September 30, 2019                                                              652,856.18


Deposits and Other Credits
 Sep 13 ONLINE TRANSFER CR                                                                            1,697,224.99
         ONLINE XFR FROM: XXXXXX0120
 Sep 17 INCOMING WIRE                                                                                     3,131.00
         REF# 20190917B6B7261F00112709171322FT03
         FROM: CHASUS33                               ABA:      544790098
         BANK: JPMC CB FUNDS TRANSFER SAME DAY

Withdrawals and Other Debits
 Sep 16 OUTGOING WIRE                                                                                          505.00
         REF# 20190916B6B7261F001920
         TO:   MARILYN J CHEZ IRREV TRUST             ABA:      021000021
         BANK: JPMORGAN CHASE BANK, NA              ACCT#
 Sep 16 OUTGOING WIRE                                                                                          606.00
         REF# 20190916B6B7261F001626
         TO:   FIFTH THIRD BANK CHICAGO ACCOUNT       ABA:   042000314
         BANK: FIFTH THIRD BANK                     ACCT#
         OBI: FFC Acct 23230009610452 Acct Name     Andrea Janelle Simon
         OBI:
         OBI:
 Sep 16 OUTGOING WIRE                                                                                          606.00
         REF# 20190916B6B7261F002240
         TO:   FIFTH THIRD BANK CHICAGO ACCOUNT       ABA:   042000314
         BANK: FIFTH THIRD BANK                     ACCT#
         OBI: FFC Acct 23230009610445 Acct Name     Shana A Larson
         OBI:
       Case 1:17-bk-12408-MB      Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                  Main Document     Page 26 of 81



                                                                                        Statement Period
                                                                                     From September 01, 2019
                                                                                     To   September 30, 2019
                                                                                     Page     3 of     8

                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017



             ICPW NEVADA TRUST                          9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                                See Back for Important Information


                                                                            Primary Account:       0112          136

Date                    Description
          OBI:
Sep 16    OUTGOING WIRE                                                                                        666.60
          REF# 20190916B6B7261F002225
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT      ABA:   042000314
          BANK: FIFTH THIRD BANK                    ACCT#
          OBI: FFC Acct 23230009610510 Acct Name    Sue Glick Survivors
          OBI: Trust
          OBI:
Sep 16    OUTGOING WIRE                                                                                        868.60
          REF# 20190916B6B7261F002178
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT      ABA:   042000314
          BANK: FIFTH THIRD BANK                    ACCT#
          OBI: FFC Acct 23230009610502 Acct Name    Steven Glick Bypass
          OBI: Trust
          OBI:
Sep 16    OUTGOING WIRE                                                                                   1,371.58
          REF# 20190916B6B7261F001713
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT      ABA:   042000314
          BANK: FIFTH THIRD BANK                    ACCT#
          OBI: FFC Acct 23230009636200 Acct Name    Christopher Marks
          OBI:
          OBI:
Sep 16    OUTGOING WIRE                                                                                   1,414.00
          REF# 20190916B6B7261F001849
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT      ABA:   042000314
          BANK: FIFTH THIRD BANK                    ACCT#
          OBI: FFC Acct 23230029671447 Acct Name    Eden Macknin Bene Tr
          OBI:   IRA
          OBI:
Sep 16    OUTGOING WIRE                                                                                   1,533.18
          REF# 20190916B6B7261F001657
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT      ABA:   042000314
          BANK: FIFTH THIRD BANK                    ACCT#
          OBI: FFC Acct 23230029671439 Acct Name    Ilyse Markrack Bene
          OBI: Tr IRA
          OBI:
Sep 16    OUTGOING WIRE                                                                                   2,258.36
          REF# 20190916B6B7261F002237
          TO:   MORGAN STANLEY SMITH BARNEY LLC      ABA:       021000089
       Case 1:17-bk-12408-MB      Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19             Desc
                                  Main Document     Page 27 of 81



                                                                                 Statement Period
                                                                              From September 01, 2019
                                                                              To   September 30, 2019
                                                                              Page     4 of     8

                                                                              PRIVATE CLIENT GROUP 161
                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                         See Back for Important Information


                                                                    Primary Account:        0112         136

Date                    Description
          BANK: CITIBANK, N.A.                   ACCT#
          OBI: FFC Account Ronald L Chez IRA Acct 844015956
          OBI:
          OBI:
Sep 16    OUTGOING WIRE                                                                             3,131.00
          REF# 20190916B6B7261F002213
          TO:   ELIZABETH CHEZ BENE TR IRA         ABA:   021000021
          BANK: JPMORGAN CHASE BANK, NA          ACCT#
Sep 16    OUTGOING WIRE                                                                             3,151.20
          REF# 20190916B6B7261F002096
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 2323000-9636135 Acct Name Ann Sofios Irrev Tr
          OBI: ust
          OBI:
Sep 16    OUTGOING WIRE                                                                             7,149.89
          REF# 20190916B6B7261F001780
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 23230009510348 Acct Name Chez Family Foundati
          OBI: on Trust
          OBI:
Sep 16    OUTGOING WIRE                                                                            14,003.67
          REF# 20190916B6B7261F002074
          TO:   ERIC M JAEGER                      ABA:   026009593
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
Sep 16    OUTGOING WIRE                                                                            15,352.00
          REF# 20190916B6B7261F001684
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 2323000-9636010 Acct Name Athena Marks
          OBI:
          OBI:
Sep 16    OUTGOING WIRE                                                                            27,578.49
          REF# 20190916B6B7261F002457
          TO:   JAEGER FAMILY LLC                  ABA:   026009593
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
Sep 16    OUTGOING WIRE                                                                            28,010.41
          REF# 20190916B6B7261F002246
       Case 1:17-bk-12408-MB      Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 28 of 81



                                                                                  Statement Period
                                                                               From September 01, 2019
                                                                               To   September 30, 2019
                                                                               Page     5 of     8

                                                                               PRIVATE CLIENT GROUP 161
                                                                               565 FIFTH AVENUE
                                                                               NEW YORK, NY 10017



             ICPW NEVADA TRUST                       9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                          See Back for Important Information


                                                                      Primary Account:       0112          136

Date                    Description
          TO:   UBS FINANCIAL SERVICES INC         ABA:   026007993
          BANK: UBS AG                           ACCT#
          OBI: FFC 101WA2586411000 FBO UBS Financial Services Inc
          OBI:
          OBI:
Sep 16    OUTGOING WIRE                                                                             29,360.05
          REF# 20190916B6B7261F002063
          TO:   EDUARD ALBERT JAEGER               ABA:   122000496
          BANK: MUFG UNION BANK, NA              ACCT#
Sep 16    OUTGOING WIRE                                                                             40,400.00
          REF# 20190916B6B7261F002437
          TO:   MARCEL SASSOLA                     ABA:   026009593
          BANK: BANK OF AMERICA, N.A., NY        ACCT#
Sep 16    OUTGOING WIRE                                                                             107,503.41
          REF# 20190916B6B7261F002532
          TO:   JUDY FRANK FRANK FAMILY TRUST      ABA:   322285781
          BANK: PACIFIC PREMIER BANK             ACCT#
Sep 16    OUTGOING WIRE                                                                             164,223.86
          REF# 20190916B6B7261F001681
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 23230029495797 Acct Name Ronald L Chez IRA
          OBI:
          OBI:
Sep 17    OUTGOING WIRE                                                                                  101.00
          REF# 20190917B6B7261F000218
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 23230029610460 Acct Name Eric J Chez IRA
          OBI:
          OBI:
Sep 17    OUTGOING WIRE                                                                                  167.66
          REF# 20190917B6B7261F000253
          TO:   FIFTH THIRD BANK CHICAGO ACCOUNT   ABA:   042000314
          BANK: FIFTH THIRD BANK                 ACCT#
          OBI: FFC Acct 23230009671405 Acct Name Ilyse Markrack
          OBI:
          OBI:
Sep 17    OUTGOING WIRE                                                                               1,111.00
        Case 1:17-bk-12408-MB      Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                    Desc
                                   Main Document     Page 29 of 81



                                                                                         Statement Period
                                                                                      From September 01, 2019
                                                                                      To   September 30, 2019
                                                                                      Page     6 of     8

                                                                                      PRIVATE CLIENT GROUP 161
                                                                                      565 FIFTH AVENUE
                                                                                      NEW YORK, NY 10017



              ICPW NEVADA TRUST                           9-161
              MATTHEW PLISKIN TRUSTEE
              DISBURSEMENT ACCOUNT
              3902 W HENDERSON BLVD, SUITE 208-336
              TAMPA FL 33629                 999                                See Back for Important Information


                                                                             Primary Account:       0112          136

 Date                    Description
           REF# 20190917B6B7261F000212
           TO:   FIFTH THIRD BANK CHICAGO ACCOUNT    ABA:  042000314
           BANK: FIFTH THIRD BANK                  ACCT#
           OBI: FFC Acct 23230029610494 Acct Name Sue M Glick IRA
           OBI:
           OBI:
 Sep 17    OUTGOING WIRE                                                                                     5,555.00
           REF# 20190917B6B7261F000225
           TO:   MERRILL LYNCH                       ABA:  026009593
           BANK: BANK OF AMERICA, N.A., NY         ACCT#
           OBI: FFCT 66127567 FCA Eric Chez Bene Tr IRA
           OBI:
           OBI:
 Sep 17    OUTGOING WIRE                                                                                   153,393.14
           REF# 20190917B6B7261F001021
           TO:   Scott M. Jarus and Rebecca D. Jaru ABA:   122000496
           BANK: MUFG UNION BANK, NA               ACCT#
 Sep 18    OUTGOING WIRE                                                                                     3,131.00
           REF# 20190918B6B7261F000852
           TO:   FIFTH THIRD BANK CHICAGO ACCOUNT    ABA:  042000314
           BANK: FIFTH THIRD BANK                  ACCT#
           OBI: FFC Acct 23230029789520 Acct Name Elizabeth Chez Bene
           OBI: Tr IRA
           OBI:
 Sep 24    OUTGOING WIRE                                                                                        816.08
           REF# 20190924B6B7261F000878
           TO:   NFS                                 ABA:  021000021
           BANK: JPMORGAN CHASE BANK, NA           ACCT#
           OBI: FFC NFS ACCOUNT NO RLC 001994 NAME RONALD CHEZ
           OBI:
           OBI:

Checks by Serial Number
 Sep 30       1378                 505.00      Sep   24           1394               34,138.00
 Sep 30       1379               6,060.00      Sep   25           1395                2,222.00
 Sep 25       1382 *               101.00      Sep   24           1397   *              269.33
 Sep 24       1384 *               303.00      Sep   24           1399   *              204.55
 Sep 25       1390 *             3,080.36      Sep   30           1402   *              214.12
 Sep 24       1393 *             6,666.00      Sep   30           1404   *            1,282.48
    Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                 Main Document     Page 30 of 81



                                                                                 Statement Period
                                                                              From September 01, 2019
                                                                              To   September 30, 2019
                                                                              Page     7 of     8

                                                                              PRIVATE CLIENT GROUP 161
                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017



            ICPW NEVADA TRUST                         9-161
            MATTHEW PLISKIN TRUSTEE
            DISBURSEMENT ACCOUNT
            3902 W HENDERSON BLVD, SUITE 208-336
            TAMPA FL 33629                 999                          See Back for Important Information


                                                                     Primary Account:       0112         136

Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
Sep 24       1407 *              101.00      Sep 27         1475                202.00
Sep 26       1411 *              302.98      Sep 24         1476                155.38
Sep 23       1412              7,818.96      Sep 26         1479 *           10,100.00
Sep 25       1413             27,899.41      Sep 24         1480             10,100.00
Sep 30       1416 *              511.42      Sep 25         1481             39,834.02
Sep 25       1417                252.50      Sep 26         1482                269.33
Sep 24       1418              1,065.55      Sep 30         1483                 66.50
Sep 24       1422 *              202.00      Sep 25         1486 *               30.30
Sep 25       1425 *               50.50      Sep 24         1488 *            2,020.00
Sep 23       1426              1,010.00      Sep 26         1491 *              770.08
Sep 24       1427              1,452.56      Sep 24         1499 *              100.98
Sep 30       1428                339.54      Sep 25         1500              2,573.70
Sep 26       1431 *              101.00      Sep 25         1501                 80.80
Sep 26       1432             13,095.86      Sep 30         1502                262.60
Sep 24       1434 *              202.00      Sep 24         1504 *            1,010.00
Sep 24       1437 *            2,175.50      Sep 26         1506 *              522.92
Sep 24       1438              1,864.50      Sep 30         1507                 38.06
Sep 30       1439                 40.40      Sep 25         1517 *              454.50
Sep 25       1440              3,141.71      Sep 30         1518                606.00
Sep 26       1442 *            2,310.27      Sep 24         1519                144.75
Sep 25       1447 *           10,100.00      Sep 26         1521 *              304.03
Sep 30       1448                 40.40      Sep 27         1522              2,424.00
Sep 27       1450 *            3,030.00      Sep 23         1524 *            3,244.48
Sep 27       1452 *              202.00      Sep 23         1526 *            2,783.56
Sep 26       1453                708.54      Sep 23         1527              3,080.36
Sep 25       1455 *            2,634.93      Sep 26         1529 *               38.48
Sep 25       1457 *            1,148.13      Sep 24         1530              1,151.40
Sep 27       1458              1,328.72      Sep 26         1533 *            1,525.20
Sep 25       1459                606.00      Sep 25         1534                339.54
Sep 30       1461 *            3,850.44      Sep 27         1536 *            8,079.98
Sep 24       1464 *            1,515.00      Sep 27         1537              7,035.86
Sep 30       1465                620.34      Sep 25         1539 *              269.35
Sep 30       1466              2,324.54      Sep 26         1544 *            1,212.00
Sep 25       1467              1,540.17      Sep 26         1546 *            1,414.00
Sep 27       1468             12,164.70      Sep 25         1553 *            2,323.00
Sep 25       1469                770.08      Sep 24         1554              1,515.00
Sep 24       1472 *          101,000.00      Sep 30         1555                121.20
Sep 24       1473              1,010.00      Sep 27         1556                606.00
Sep 24       1474                 80.80      Sep 25         1557                141.40
     Case 1:17-bk-12408-MB         Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                   Main Document     Page 31 of 81



                                                                                   Statement Period
                                                                                From September 01, 2019
                                                                                To   September 30, 2019
                                                                                Page     8 of     8

                                                                                PRIVATE CLIENT GROUP 161
                                                                                565 FIFTH AVENUE
                                                                                NEW YORK, NY 10017



             ICPW NEVADA TRUST                          9-161
             MATTHEW PLISKIN TRUSTEE
             DISBURSEMENT ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                           See Back for Important Information


                                                                       Primary Account:       0112         136

 Date     Serial Nbr               Amount      Date       Serial Nbr              Amount
 Sep 30       1558                 262.60      Sep 23         1610              1,010.00
 Sep 23       1559               6,613.68      Sep 23         1611              1,010.00
 Sep 24       1564 *             1,953.72      Sep 25         1612                202.00
 Sep 24       1566 *             8,904.58      Sep 30         1615 *            1,540.17
 Sep 30       1568 *               404.00      Sep 26         1616                102.23
 Sep 25       1570 *               404.00      Sep 25         1618 *               63.08
 Sep 27       1571                  40.40      Sep 24         1619              2,557.28
 Sep 24       1574 *               835.55      Sep 30         1620              1,270.58
 Sep 24       1580 *            16,265.52      Sep 24         1622 *               49.17
 Sep 23       1583 *             1,212.00      Sep 23         1624 *           10,665.60
 Sep 23       1584                 101.00      Sep 26         1625             10,100.00
 Sep 23       1585                 797.58      Sep 30         1626                181.11
 Sep 23       1587 *             1,010.00      Sep 30         1630 *              905.44
 Sep 25       1589 *                40.40      Sep 23         1634 *              828.20
 Sep 25       1594 *                80.80      Sep 27         1635              1,346.65
 Sep 30       1597 *             1,063.53      Sep 27         1636              1,595.17
 Sep 24       1598                 101.00      Sep 24         1640 *              511.42
 Sep 24       1599               1,402.16      Sep 27         1641             16,138.79
 Sep 30       1600                 606.00      Sep 30         1643 *           23,636.12
 Sep 27       1602 *            11,880.25      Sep 25         1644                606.00
 Sep 24       1603               2,810.08      Sep 25         1645                121.20
 Sep 25       1604                 101.00      Sep 30         1646              1,540.17
 Sep 27       1609 *            16,398.80      Sep 25         1647              1,299.99

                  * Indicates break in check sequence

Daily Balances
 Aug 31             87,646.44                           Sep   24        929,011.05
 Sep 13          1,784,871.43                           Sep   25        826,499.18
 Sep 16          1,335,178.13                           Sep   26        783,622.26
 Sep 17          1,177,981.33                           Sep   27        701,148.94
 Sep 18          1,174,850.33                           Sep   30        652,856.18
 Sep 23          1,133,664.91
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 32 of 81



                                                                                Statement Period
                                                                             From July      01, 2019
                                                                             To   July      31, 2019
                                                                             Page      1 of    2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0120          0

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              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      BANKRUPTCY IMMA                                      29,186.01                      29,213.29

              RELATIONSHIP             TOTAL                                                        29,213.29
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19            Desc
                                  Main Document     Page 33 of 81



                                                                                Statement Period
                                                                             From July      01, 2019
                                                                             To   July      31, 2019
                                                                             Page      2 of    2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:       0120            0


BANKRUPTCY IMMA                      0120


Summary

 Previous Balance as of July      01, 2019                                                        29,186.01
        1 Credits                                                                                     27.28
 Ending Balance as of   July      31, 2019                                                        29,213.29


Deposits and Other Credits
 Jul 31 Interest Paid                                                                                   27.28

Daily Balances
 Jun 30            29,186.01                         Jul 31            29,213.29

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest                 186.06                                                          *
* Interest Paid This Period              27.28           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period           29,186.01           Days in Period                      31         *
*=======================================================================================================*
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 34 of 81



                                                                                Statement Period
                                                                             From August    01, 2019
                                                                             To   August    31, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0120         0

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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
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Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      0120      BANKRUPTCY IMMA                                      29,213.29                  1,949,749.72

              RELATIONSHIP             TOTAL                                                    1,949,749.72
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                  Desc
                                  Main Document     Page 35 of 81



                                                                                      Statement Period
                                                                                   From August    01, 2019
                                                                                   To   August    31, 2019
                                                                                   Page     2 of     2

                                                                                   PRIVATE CLIENT GROUP 161
                                                                                   565 FIFTH AVENUE
                                                                                   NEW YORK, NY 10017



             ICPW NEVADA TRUST                        8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                              See Back for Important Information


                                                                          Primary Account:       0120         0


BANKRUPTCY IMMA                      0120


Summary

 Previous Balance as of August    01, 2019                                                             29,213.29
        2 Credits                                                                                   1,920,536.43
 Ending Balance as of   August    31, 2019                                                          1,949,749.72


Deposits and Other Credits
 Aug 05 INCOMING WIRE                                                                               1,918,947.07
         REF# 20190805B6B7261F00064208051015FT03
         FROM: SOLOMON & CRAMER LLP                 ABA:      011103093
         BANK:
 Aug 30 Interest Paid                                                                                   1,589.36

Daily Balances
 Jul 31              29,213.29                        Aug 30              1,949,749.72
 Aug 05           1,948,160.36

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest               1,775.42                                                          *
* Interest Paid This Period           1,589.36           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period        1,700,554.28           Days in Period                      31         *
*=======================================================================================================*
     Case 1:17-bk-12408-MB        Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                  Main Document     Page 36 of 81



                                                                                Statement Period
                                                                             From September 01, 2019
                                                                             To   September 30, 2019
                                                                             Page     1 of     2

                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017



             ICPW NEVADA TRUST                       8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                        See Back for Important Information


                                                                    Primary Account:         0120           0

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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
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              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
       120      BANKRUPTCY IMMA                                   1,949,749.72                      262,590.28

              RELATIONSHIP             TOTAL                                                        262,590.28
     Case 1:17-bk-12408-MB           Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19               Desc
                                     Main Document     Page 37 of 81



                                                                                      Statement Period
                                                                                   From September 01, 2019
                                                                                   To   September 30, 2019
                                                                                   Page     2 of     2

                                                                                   PRIVATE CLIENT GROUP 161
                                                                                   565 FIFTH AVENUE
                                                                                   NEW YORK, NY 10017



             ICPW NEVADA TRUST                        8-161
             MATTHEW PLISKIN TRUSTEE
             EXCESS CASH RESERVE ACCOUNT
             3902 W HENDERSON BLVD, SUITE 208-336
             TAMPA FL 33629                 999                              See Back for Important Information


                                                                          Primary Account:       0120            0


BANKRUPTCY IMMA                        0120


Summary

 Previous Balance as of September 01, 2019                                                          1,949,749.72
        2 Credits                                                                                      10,065.55
        1 Debits                                                                                    1,697,224.99
 Ending Balance as of   September 30, 2019                                                            262,590.28


Deposits and Other Credits
 Sep 04 INCOMING WIRE                                                                                   9,215.41
         REF# 20190904B6B7261F00196309041704FT03
         FROM: SOLOMON & CRAMER LLP                 ABA:      011103093
         BANK:
 Sep 30 Interest Paid                                                                                        850.14

Withdrawals and Other Debits
 Sep 13 ONLINE TRANSFER DR                                                                          1,697,224.99
         ONLINE XFR TO: XXXXXX0112

Daily Balances
 Aug 31           1,949,749.72                        Sep 13               261,740.14
 Sep 04           1,958,965.13                        Sep 30               262,590.28

*======================================= Interest Summary    ===========================================*
* Year-To-Date Interest               2,625.56                                                          *
* Interest Paid This Period             850.14           Annual Percentage Yield Earned      1.11 %     *
* Avg. Balance this Period          939,708.59           Days in Period                      30         *
*=======================================================================================================*
Case 1:17-bk-12408-MB             Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19            Desc
                                  Main Document     Page 38 of 81

                                                    7    STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                Page:                                  1 of 3
   MATTHEW A PLISKIN TRUSTEE                             Statement Period:    Jul 01 2019-Jul 31 2019
   GENERAL AND DISBURSEMENTS                             Cust Ref #:                  4123-719-7-###
   3609 HENDERSON BLVD STE 208                           Primary Account #:                      4123
   TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                               Account #             4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                    23,044.71                 Average Collected Balance           74,143.03
Electronic Deposits                 205,131.34                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Electronic Payments                 170,057.56                 Annual Percentage Yield Earned         0.00%
Other Withdrawals                    32,848.78                 Days in Period                             31
Service Charges                          30.00
Ending Balance                       25,239.71




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
07/01            eTransfer Credit, Online Xfer                                                    152,684.32
                      Transfer from MMKT     3018
07/01            eTransfer Credit, Online Xfer                                                     50,172.02
                      Transfer from MMKT     3018
07/30            eTransfer Credit, Online Xfer                                                      2,275.00
                      Transfer from MMKT     3018

                                                                              Subtotal:           205,131.34
Electronic Payments
POSTING DATE     DESCRIPTION                                                                         AMOUNT
07/08            TDBANK BILL PAY CHECK,                                                                  725.00
                      BPE&H AN ACCOUNTANCY CORPORATION
                      CHECK# 995056
07/09            TDBANK BILL PAY CHECK,                                                             6,892.50
                      SOLOMON & CRAMER LLP
                      CHECK# 995064
07/10            TDBANK BILL PAY CHECK,                                                            70,005.20
                      SOLOMON & CRAMER LLP
                      CHECK# 995062
07/10            TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                          21,787.50
                      CHECK# 995059
07/10            TDBANK BILL PAY CHECK, SCOTT JARUS                                                10,000.00
                      CHECK# 995061
07/10            TDBANK BILL PAY CHECK, FTI CONSULTING                                              8,235.22
                      CHECK# 995058




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 39 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         25,239.71
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB           Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19             Desc
                                Main Document     Page 40 of 81

                                                        STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                            Page:                                  3 of 3
                                                        Statement Period:    Jul 01 2019-Jul 31 2019
                                                        Cust Ref #:                  4123-719-7-###
                                                        Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                       AMOUNT
07/10             TDBANK BILL PAY CHECK,                                                                500.00
                    KURTZMAN CARSON CONSULTANTS LLC
                    CHECK# 995060
07/11             TDBANK BILL PAY CHECK, DENTONS LLP                                              50,172.02
                    CHECK# 995057
07/15             TDBANK BILL PAY CHECK, FOLELY LARDNER                                            1,740.12
                    CHECK# 995063

                                                                             Subtotal:           170,057.56
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                       AMOUNT
07/01             DEBIT                                                                           12,798.78
07/01             WIRE TRANSFER OUTGOING, Trust Services                                          10,000.00
07/01             WIRE TRANSFER OUTGOING, Patrick O'brien                                         10,000.00
07/01             WIRE TRANSFER FEE                                                                   25.00
07/01             WIRE TRANSFER FEE                                                                   25.00
                                                                             Subtotal:            32,848.78
Service Charges
POSTING DATE      DESCRIPTION                                                                       AMOUNT
07/31             MAINTENANCE FEE                                                                        30.00
                                                                             Subtotal:                   30.00


DAILY BALANCE SUMMARY
DATE                                BALANCE                   DATE                                 BALANCE
06/30                             23,044.71                   07/11                              24,734.83
07/01                            193,052.27                   07/15                              22,994.71
07/08                            192,327.27                   07/30                              25,269.71
07/09                            185,434.77                   07/31                              25,239.71
07/10                             74,906.85




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Case 1:17-bk-12408-MB   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19   Desc
                        Main Document     Page 41 of 81
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 42 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    GENERAL AND DISBURSEMENTS                                         Cust Ref #:                     4123-719-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        4123
    TAMPA FL 33629




TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                Account #            4123
MATTHEW A PLISKIN TRUSTEE


TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                      25,239.71                             Average Collected Balance               23,478.41
                                                                             Interest Earned This Period                  0.00
Electronic Payments                     2,275.00                             Interest Paid Year-to-Date                   0.00
Service Charges                            30.00                             Annual Percentage Yield Earned             0.00%
Ending Balance                         22,934.71                             Days in Period                                 31




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/08               TDBANK BILL PAY CHECK,                                                                            1,950.00
                      UNITED STATES TRUSTEE
                      CHECK# 995065
08/08               TDBANK BILL PAY CHECK,                                                                              325.00
                      UNITED STATES TRUSTEE
                      CHECK# 995066

                                                                                              Subtotal:               2,275.00
Service Charges
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               MAINTENANCE FEE                                                                                      30.00
                                                                                              Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                                  25,239.71                            08/30                                   22,934.71
08/08                                  22,964.71




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 43 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         22,934.71
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 44 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 3
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    GENERAL AND DISBURSEMENTS                                        Cust Ref #:                      4123-719-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         4123
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

TD Business Premier Checking
ICPW LIQUIDATIONTRUST                                                                                Account #            4123
MATTHEW A PLISKIN TRUSTEE


ACCOUNT SUMMARY
Beginning Balance                      22,934.71                            Average Collected Balance               84,225.11
Electronic Deposits                   117,348.45                            Interest Earned This Period                  0.00
                                                                            Interest Paid Year-to-Date                   0.00
Electronic Payments                   105,504.41                            Annual Percentage Yield Earned             0.00%
Other Withdrawals                       2,736.50                            Days in Period                                 30
Service Charges                            30.00
Ending Balance                         32,012.25




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/03              eTransfer Credit, Online Xfer                                                                   117,348.45
                      Transfer from MMKT          3018

                                                                                              Subtotal:            117,348.45
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/17              TDBANK BILL PAY CHECK,                                                                           16,442.32
                      SOLOMON & CRAMER LLP
                      CHECK# 995071
09/17              TDBANK BILL PAY CHECK,                                                                             1,967.82
                      BUSINESS RECORDS MANAGEMENT
                      CHECK# 995068
09/18              TDBANK BILL PAY CHECK, HEMMING MORSE LLP                                                         64,940.00
                      CHECK# 995070
09/18              TDBANK BILL PAY CHECK,                                                                           13,750.00
                      AMERICAN ARBITRATION ASSOCIATION
                      CHECK# 995067
09/20              TDBANK BILL PAY CHECK, DENTONS LLP                                                                 8,404.27
                      CHECK# 995069

                                                                                              Subtotal:            105,504.41



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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 45 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         32,012.25
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB           Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19              Desc
                                Main Document     Page 46 of 81

                                                         STATEMENT OF ACCOUNT


   ICPW LIQUIDATION TRUST
   MATTHEW A PLISKIN TRUSTEE                             Page:                                  3 of 3
                                                         Statement Period:    Sep 01 2019-Sep 30 2019
                                                         Cust Ref #:                   4123-719-7-###
                                                         Primary Account #:                      4123




DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                        AMOUNT
09/04             WIRE TRANSFER OUTGOING, Kurtzman Carson Consultants Llc                           2,711.50
09/04             WIRE TRANSFER FEE                                                                    25.00
                                                                               Subtotal:            2,736.50
Service Charges
POSTING DATE      DESCRIPTION                                                                        AMOUNT
09/30             MAINTENANCE FEE                                                                        30.00
                                                                               Subtotal:                 30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                     DATE                                 BALANCE
08/31                             22,934.71                    09/18                               40,446.52
09/03                            140,283.16                    09/20                               32,042.25
09/04                            137,546.66                    09/30                               32,012.25
09/17                            119,136.52




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Case 1:17-bk-12408-MB   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19   Desc
                        Main Document     Page 47 of 81
Case 1:17-bk-12408-MB                Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19           Desc
                                     Main Document     Page 48 of 81

                                                     7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                                  Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                               Statement Period:    Jul 01 2019-Jul 31 2019
   OPERATING ACCOUNT                                       Cust Ref #:                  3018-701-7-###
   3609 HENDERSON BLVD STE 208                             Primary Account #:                      3018
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                 Account #             3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                1,248,663.99                    Average Collected Balance      1,046,251.90
Deposits                               945.13                    Interest Earned This Period        1,954.78
Other Credits                        1,954.78                    Interest Paid Year-to-Date        17,533.12
                                                                 Annual Percentage Yield Earned       2.22%
Electronic Payments                205,131.34                    Days in Period                           31
Ending Balance                   1,046,432.56




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE     DESCRIPTION                                                                           AMOUNT
07/12            DEPOSIT                                                                                   945.13
                                                                                Subtotal:                  945.13
Other Credits
POSTING DATE     DESCRIPTION                                                                           AMOUNT
07/31            INTEREST PAID                                                                        1,954.78
                                                                                Subtotal:             1,954.78
Electronic Payments
POSTING DATE     DESCRIPTION                                                                           AMOUNT
07/01            eTransfer Debit, Online Xfer                                                       152,684.32
                    Transfer to CK        4123
07/01            eTransfer Debit, Online Xfer                                                        50,172.02
                    Transfer to CK        4123
07/30            eTransfer Debit, Online Xfer                                                         2,275.00
                    Transfer to CK        4123

                                                                                Subtotal:           205,131.34


DAILY BALANCE SUMMARY
DATE                                   BALANCE                   DATE                                 BALANCE
06/30                            1,248,663.99                    07/30                            1,044,477.78
07/01                            1,045,807.65                    07/31                            1,046,432.56
07/12                            1,046,752.78




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 49 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,046,432.56
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
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                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
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    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
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                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 50 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    OPERATING ACCOUNT                                                 Cust Ref #:                     3018-701-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        3018
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                   1,046,432.56                             Average Collected Balance      1,039,162.42
Other Credits                           1,770.93                             Interest Earned This Period        1,770.93
                                                                             Interest Paid Year-to-Date        19,304.05
Other Withdrawals                       8,412.78                             Annual Percentage Yield Earned       2.03%
Ending Balance                      1,039,790.71                             Days in Period                           31




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               INTEREST PAID                                                                                     1,770.93
                                                                                              Subtotal:               1,770.93
Other Withdrawals
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/05               WIRE TRANSFER OUTGOING, The Charles Schwab Trst Co                                                8,387.78
08/05               WIRE TRANSFER FEE                                                                                    25.00
                                                                                              Subtotal:               8,412.78


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                               1,046,432.56                            08/30                                1,039,790.71
08/05                               1,038,019.78




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 51 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,039,790.71
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
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                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                        Desc
                                       Main Document     Page 52 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    OPERATING ACCOUNT                                                Cust Ref #:                      3018-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         3018
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            3018
MATTHEW A PLISKIN TRUSTEE
OPERATING ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                   1,039,790.71                            Average Collected Balance              930,315.18
Other Credits                           1,490.97                            Interest Earned This Period              1,490.97
                                                                            Interest Paid Year-to-Date              20,795.02
Electronic Payments                     117,348.45                          Annual Percentage Yield Earned             1.97%
Ending Balance                          923,933.23                          Days in Period                                 30




DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/30              INTEREST PAID                                                                                      1,490.97
                                                                                              Subtotal:              1,490.97
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/03              eTransfer Debit, Online Xfer                                                                    117,348.45
                      Transfer to CK        4123

                                                                                              Subtotal:            117,348.45


DAILY BALANCE SUMMARY
DATE                                      BALANCE                           DATE                                     BALANCE
08/31                               1,039,790.71                            09/30                                 923,933.23
09/03                                 922,442.26




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 53 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       923,933.23
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19           Desc
                               Main Document     Page 54 of 81

                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jul 01 2019-Jul 31 2019
   CLASS 1 RESERVE                                   Cust Ref #:                  9869-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9869
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                           Account #             9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance               389,389.65                 Average Collected Balance          389,413.12
Other Credits                       727.57                 Interest Earned This Period            727.57
                                                           Interest Paid Year-to-Date           4,944.52
Ending Balance                  390,117.22                 Annual Percentage Yield Earned         2.22%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
07/31            INTEREST PAID                                                                       727.57
                                                                          Subtotal:                  727.57


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
06/30                           389,389.65                 07/31                             390,117.22




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 55 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       390,117.22
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 56 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    CLASS 1 RESERVE                                                   Cust Ref #:                     9869-701-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        9869
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


TD now accepts Real Time Payments!
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electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                     390,117.22                             Average Collected Balance             390,138.66
Other Credits                             664.80                             Interest Earned This Period               664.80
                                                                             Interest Paid Year-to-Date              5,609.32
Ending Balance                        390,782.02                             Annual Percentage Yield Earned            2.02%
                                                                             Days in Period                                31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               INTEREST PAID                                                                                       664.80
                                                                                              Subtotal:                 664.80


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                                 390,117.22                            08/30                                  390,782.02




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 57 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       390,782.02
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
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                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 58 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    CLASS 1 RESERVE                                                  Cust Ref #:                      9869-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         9869
    TAMPA FL 33629




TD now accepts Real Time Payments!
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electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
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RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9869
MATTHEW A PLISKIN TRUSTEE
CLASS 1 RESERVE


ACCOUNT SUMMARY
Beginning Balance                     390,782.02                            Average Collected Balance              390,802.89
Other Credits                             626.32                            Interest Earned This Period                626.32
                                                                            Interest Paid Year-to-Date               6,235.64
Ending Balance                        391,408.34                            Annual Percentage Yield Earned             1.97%
                                                                            Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/30              INTEREST PAID                                                                                        626.32
                                                                                              Subtotal:                 626.32


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
08/31                                 390,782.02                            09/30                                 391,408.34




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 59 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       391,408.34
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19           Desc
                               Main Document     Page 60 of 81

                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jul 01 2019-Jul 31 2019
   TAX RESERVE                                       Cust Ref #:                  9893-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      9893
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                           Account #             9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                91,720.04                 Average Collected Balance           91,725.56
Other Credits                       171.38                 Interest Earned This Period            171.38
                                                           Interest Paid Year-to-Date           1,164.67
Ending Balance                   91,891.42                 Annual Percentage Yield Earned         2.22%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
07/31            INTEREST PAID                                                                       171.38
                                                                          Subtotal:                  171.38


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
06/30                            91,720.04                 07/31                              91,891.42




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 61 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         91,891.42
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 62 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    TAX RESERVE                                                       Cust Ref #:                     9893-701-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        9893
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                      91,891.42                             Average Collected Balance               91,896.47
Other Credits                             156.59                             Interest Earned This Period                156.59
                                                                             Interest Paid Year-to-Date               1,321.26
Ending Balance                         92,048.01                             Annual Percentage Yield Earned             2.02%
                                                                             Days in Period                                 31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               INTEREST PAID                                                                                       156.59
                                                                                              Subtotal:                 156.59


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                                  91,891.42                            08/30                                   92,048.01




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 63 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         92,048.01
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 64 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    TAX RESERVE                                                      Cust Ref #:                      9893-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         9893
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            9893
MATTHEW A PLISKIN TRUSTEE
TAX RESERVE


ACCOUNT SUMMARY
Beginning Balance                      92,048.01                            Average Collected Balance               92,052.92
Other Credits                             147.53                            Interest Earned This Period                147.53
                                                                            Interest Paid Year-to-Date               1,468.79
Ending Balance                         92,195.54                            Annual Percentage Yield Earned             1.97%
                                                                            Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/30              INTEREST PAID                                                                                        147.53
                                                                                              Subtotal:                 147.53


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
08/31                                  92,048.01                            09/30                                   92,195.54




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 65 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         92,195.54
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19           Desc
                               Main Document     Page 66 of 81

                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jul 01 2019-Jul 31 2019
   CLASS 3 RESERVE                                   Cust Ref #:                  4074-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4074
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                           Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance              2,344,305.10                Average Collected Balance      2,344,446.40
Other Credits                      4,380.32                Interest Earned This Period        4,380.32
                                                           Interest Paid Year-to-Date        29,768.37
Ending Balance                 2,348,685.42                Annual Percentage Yield Earned       2.22%
                                                           Days in Period                           31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
07/31            INTEREST PAID                                                                  4,380.32
                                                                          Subtotal:             4,380.32


DAILY BALANCE SUMMARY
DATE                               BALANCE                 DATE                                 BALANCE
06/30                          2,344,305.10                07/31                            2,348,685.42




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 67 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,348,685.42
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 68 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    CLASS 3 RESERVE                                                   Cust Ref #:                     4074-701-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        4074
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                   2,348,685.42                             Average Collected Balance      2,348,814.53
Other Credits                           4,002.42                             Interest Earned This Period        4,002.42
                                                                             Interest Paid Year-to-Date        33,770.79
Ending Balance                      2,352,687.84                             Annual Percentage Yield Earned       2.02%
                                                                             Days in Period                           31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               INTEREST PAID                                                                                     4,002.42
                                                                                              Subtotal:               4,002.42


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                               2,348,685.42                            08/30                                2,352,687.84




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 69 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,352,687.84
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 70 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    CLASS 3 RESERVE                                                  Cust Ref #:                      4074-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         4074
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4074
MATTHEW A PLISKIN TRUSTEE
CLASS 3 RESERVE


ACCOUNT SUMMARY
Beginning Balance                   2,352,687.84                            Average Collected Balance      2,352,813.53
Other Credits                           3,770.75                            Interest Earned This Period        3,770.75
                                                                            Interest Paid Year-to-Date        37,541.54
Ending Balance                      2,356,458.59                            Annual Percentage Yield Earned       1.97%
                                                                            Days in Period                           30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/30              INTEREST PAID                                                                                      3,770.75
                                                                                              Subtotal:              3,770.75


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
08/31                               2,352,687.84                            09/30                                2,356,458.59




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 71 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     2,356,458.59
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
Case 1:17-bk-12408-MB          Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19           Desc
                               Main Document     Page 72 of 81

                                               7     STATEMENT OF ACCOUNT



   ICPW LIQUIDATION TRUST                            Page:                                  1 of 2
   MATTHEW A PLISKIN TRUSTEE                         Statement Period:    Jul 01 2019-Jul 31 2019
   CLASS 4 RESERVE                                   Cust Ref #:                  4058-701-7-###
   3609 HENDERSON BLVD STE 208                       Primary Account #:                      4058
   TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                           Account #             4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance               254,803.10                 Average Collected Balance          254,818.45
Other Credits                       476.10                 Interest Earned This Period            476.10
                                                           Interest Paid Year-to-Date           3,235.53
Ending Balance                  255,279.20                 Annual Percentage Yield Earned         2.22%
                                                           Days in Period                             31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE     DESCRIPTION                                                                     AMOUNT
07/31            INTEREST PAID                                                                       476.10
                                                                          Subtotal:                  476.10


DAILY BALANCE SUMMARY
DATE                              BALANCE                  DATE                                 BALANCE
06/30                           254,803.10                 07/31                             255,279.20




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 73 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       255,279.20
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 74 of 81

                                                             7        STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                            Page:                                    1 of 2
    MATTHEW A PLISKIN TRUSTEE                                         Statement Period:      Aug 01 2019-Aug 31 2019
    CLASS 4 RESERVE                                                   Cust Ref #:                     4058-701-7-###
    3609 HENDERSON BLVD STE 208                                       Primary Account #:                        4058
    TAMPA FL 33629




Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.
ACCOUNT SUMMARY
Beginning Balance                     255,279.20                             Average Collected Balance             255,293.23
Other Credits                             435.02                             Interest Earned This Period               435.02
                                                                             Interest Paid Year-to-Date              3,670.55
Ending Balance                        255,714.22                             Annual Percentage Yield Earned            2.02%
                                                                             Days in Period                                31



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                         AMOUNT
08/30               INTEREST PAID                                                                                       435.02
                                                                                              Subtotal:                 435.02


DAILY BALANCE SUMMARY
DATE                                     BALANCE                            DATE                                      BALANCE
07/31                                 255,279.20                            08/30                                  255,714.22




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    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 75 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       255,714.22
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
 Case 1:17-bk-12408-MB              Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                           Desc
                                    Main Document     Page 76 of 81

                                                             7       STATEMENT OF ACCOUNT



    ICPW LIQUIDATION TRUST                                           Page:                                     1 of 2
    MATTHEW A PLISKIN TRUSTEE                                        Statement Period:       Sep 01 2019-Sep 30 2019
    CLASS 4 RESERVE                                                  Cust Ref #:                      4058-701-7-###
    3609 HENDERSON BLVD STE 208                                      Primary Account #:                         4058
    TAMPA FL 33629




TD now accepts Real Time Payments!
We're pleased to announce that TD will soon accept Real Time Payments (RTPs), which means you can receive certain
electronic payments sent through RTP almost immediately. This is good news for consumers, businesses, and government
agencies who use RTPs. As a TD Customer, you are automatically enrolled. Please be advised that you may not send or receive
RTPs on behalf of a person who is not a resident of, or otherwise residing in, the United States. Please visit tdbank.com/RTP to
learn more.

Commercial High Rate Money Market
ICPW LIQUIDATIONTRUST                                                                                Account #            4058
MATTHEW A PLISKIN TRUSTEE
CLASS 4 RESERVE


ACCOUNT SUMMARY
Beginning Balance                     255,714.22                            Average Collected Balance              255,727.88
Other Credits                             409.84                            Interest Earned This Period                409.84
                                                                            Interest Paid Year-to-Date               4,080.39
Ending Balance                        256,124.06                            Annual Percentage Yield Earned             1.97%
                                                                            Days in Period                                 30



DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE       DESCRIPTION                                                                                        AMOUNT
09/30              INTEREST PAID                                                                                        409.84
                                                                                              Subtotal:                 409.84


DAILY BALANCE SUMMARY
DATE                                    BALANCE                             DATE                                     BALANCE
08/31                                 255,714.22                            09/30                                 256,124.06




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
    Case 1:17-bk-12408-MB                                 Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                                                 Desc
                                                          Main Document     Page 77 of 81
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       256,124.06
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                  and enter on Line 2.                                               Deposits
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your
                                                                                               your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
                                                                                               are still obligated to pay the parts of your bill that are not in question. While we
       • A description of the error or transaction you are unsure about.
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
         Case 1:17-bk-12408-MB                   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                      Desc
                                                 Main Document     Page 78 of 81



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 601
South Figueroa Street, Suite 2500, Los Angeles, CA 90017:

A true and correct copy of the document entitled (specify): POST-CONFIRMATION STATUS REPORT FOR QUARTER
ENDING SEPTEMBER 30, 2019 will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the document will be served by the court via NEF and hyperlink to the document. On (date) December
6, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Destiny N Almogue destiny.almogue@skadden.com, candice.spoon@skadden.com
       Shiva D Beck sbeck@foley.com, jcharrison@foley.com
       Ron Bender rb@lnbyb.com
       Cathrine M Castaldi ccastaldi@brownrudnick.com
       Lisa R Chandler lisa.chandler@ipfs.com
       Russell Clementson russell.clementson@usdoj.gov
       Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
       Natalie B. Daghbandan natalie.daghbandan@bryancave.com,
          raul.morales@bryancave.com;theresa.macaulay@bryancave.com
       Steven M Gluck sgluck@juno.com
       Matthew A Gold courts@argopartners.net
       Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
       Jeffrey A Krieger jkrieger@ggfirm.com,
          kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
       Samuel R Maizel samuel.maizel@dentons.com,
          alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.howard@
          dentons.com
       Krikor J Meshefejian kjm@lnbrb.com
       Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
       S Margaux Ross margaux.ross@usdoj.gov
       Thomas C Scannell tscannell@gardere.com, acordero@gardere.com
       Susan K Seflin sseflin@brutzkusgubner.com
       Arjun Sivakumar asivakumar@brownrudnick.com
       Andrew T Solomon asolomon@solomoncramer.com
       John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
       Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com
       Douglas Wolfe dwolfe@asmcapital.com

                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                           Service information continued on attached page



           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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        Case 1:17-bk-12408-MB                   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                      Desc
                                                Main Document     Page 79 of 81


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 6, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

BY PERSONAL DELIVERY
Hon. Martin R. Barash
US Bankruptcy Court
Central District of California
21041 Burbank Blvd., Suite 342/Ctrm. 303
Woodland Hills, CA 91367

                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 6, 2019              Christina O'Meara                                              /s/Christina O'Meara
 Date                         Printed Name                                                    Signature




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US_Active\108694530\V-1
        Case 1:17-bk-12408-MB                   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                      Desc
                                                Main Document     Page 80 of 81


SERVED BY U.S. MAIL:

Secured Creditor                                  Counsel to Radians Wareham                          U.S. Securities and Exchange
Radians Wareham Holding, Inc.                     Holdings                                            Commission
Attn: Mike Tutor, CEO                             E. Franklin Childress, Jr.                          Attn: Bankruptcy Counsel
5305 Distriplex Farms                             Baker, Donelson, Bearman, Caldwell                  444 South Flower Street, Suite 900
Memphis, TN 38141                                 & Berkowitz, PC                                     Los Angeles, CA 90071-9591
                                                  165 Madison Ave, Suite 2000
                                                  Memphis, Tennessee 38103

CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626

Governmental Agencies
Internal Revenue Service                          Franchise Tax Board                                 State Board of Equalization
P.O. Box 7346                                     Bankruptcy Section, MS: A-340                       Account Information Group, MIC: 29
Philadelphia, PA 19101-7346                       P.O. Box 2952                                       P.O. Box 942879
                                                  Sacramento, CA 95812-2952                           Sacramento, CA 94279-0029

Employment Development Dept.                      Office of Unemployment                              US Department of Justice
Bankruptcy Group MIC 92E                          Compensation Tax Services                           Office of the Attorney General of the
P.O. Box 826880                                   Department of Labor and Industry                    US
Sacramento, CA 94280-0001                         Commonwealth of Pennsylvania                        950 Pennsylvania Avenue, NW
                                                  651 Boas Street, Room 702                           Washington, DC 20530-0001
                                                  Harrisburg, PA 17121

United States Attorney’s Office                   Wendi A. Horwitz                                    Office of the Attorney General
Central District of California                    Deputy Attorney General                             Consumer Law Section
312 North Spring Street, Suite 1200               Department of Justice                               Attn: Bankruptcy Notices
Los Angeles, CA 90012                             Office of the Attorney General                      455 Golden Gate Ave., Suite 11000
                                                  300 South Spring Street, Suite 1702                 San Francisco, CA 94102
                                                  Los Angeles, CA 90013

Xavier Baccera                                    California State Board of Pharmacy                  Department of Justice
Attorney General of California                    1625 North Market Boulevard                         Office of the CA Attorney General
California Department of Justice                  Sacramento, CA 95834                                300 South Spring Street, Floor 9
1300 “I” Street                                                                                       Los Angeles, CA 90013
Sacramento, CA 95814

Kenneth Wang                                      Internal Revenue Service                            State of California Franchise Tax
Department of Justice                             300 North Los Angeles Street                        Board
Office of the CA Attorney General                 Los Angeles, CA 90012                               300 South Spring Street, #5704
300 South Spring Street                                                                               Los Angeles, CA 90013
Los Angeles, CA 90013

Employment Development Dept.                      Internal Revenue Service                            California Secretary of State
722 Capitol Mall                                  600 Arch Street                                     1500 11th Street
Sacramento, CA 95814                              Philadelphia, PA 19101                              Sacramento, CA 95814

Securities and Exchange Commission
200 Vesey Street, #400
New York, NY 10281



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US_Active\108694530\V-1
        Case 1:17-bk-12408-MB                   Doc 623 Filed 12/06/19 Entered 12/06/19 17:31:19                                      Desc
                                                Main Document     Page 81 of 81



Trust Board - SERVED BY EMAIL
Patrick W. O'Brien                                Ronald Chez                                         Scott Jarus
301 Whitmore Lane                                 1524 N. Astor Street                                938 Duncan Avenue
Lake Forest, IL 60045-4707                        Chicago, IL 60610                                   Manhattan Beach, CA 90266
Email: obrien.pat@me.com                          Email: rlchez@rcn.com                               Email: scott.jarus@verizon.net

Trustee - SERVED BY EMAIL
Matthew Pliskin
2718 West Terrace Drive
Tampa, Florida 33609
Email:
matthew@icpwliquidation.com




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